Harris Law Practice LLC
3151 Lakeside Drive
Suite 2260
Rone, Nevada 89571
(775) 786 7600

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STEPHEN R. HARRIS, ESQ.

Nevada Bar No. 001463

HARRIS LAW PRACTICE LLC
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JOHN ECHEVERRIA, ESO.
Nevada Bar No. 200
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9432 Double R Blvd.

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email: je@eloreno.com

Attorneys for Trustee/Third Party Plaintiff

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Page 1 of 167

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

Wee ook ok

IN RE:
NATHAN L. TOPOL, an individual,

Debtor.
/
CITIMORTGAGE, INC., a corporation,

Plainuff,
v.

W. DONALD GIESEKE, Trustee of the
NATHAN L. TOPOL bankruptcy estate, et
al,
Defendants.
i
W. DONALD GIESEKE, Trustee of the
NATHAN L. TOPOL bankruptcy estate

Third Party Plaintiff,

Case No.: BK-12-51014-btb
(Chapter 7)

Adversary Case No, 15-05015-gwz

TRUSTEE’S STATEMENT OF
UNDISPUTED FACTS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT
OR PARTIAL SUMMARY JUDGMENT
AGAINST CITIMORTGAGE, INC’S
COMPLAINT

Hrg. Date: December 15, 2016
Hrg. Time: 2:00 p.m.

Est. Time: 2 hours

Set By: Caiendar Clerk

 
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615! Lakeside Drive
Suite 2100
Reno, Nevada 89511
(779) 786 7600

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STEWART TITLE OF PLACER, a
California corporation, fka SIERRA
VALLEY TITLE COMPANY, and its
successors,

Third Party Defendant.

COMES NOW Defendant/Third Party Plaintiff W. Donald Gieseke (“Trustee”), by and
through his attorneys, STEPHEN R. HARRIS, ESQ. of HARRIS LAW PRACTICE LLC, and
JOHN ECHEVERRIA, ESQ. of ECHEVERRIA LAW OFFICE, and files the following
Statement of Undisputed Facts pursuant to LR 7056(a).

I. Certain real property located at 4250 W. Lake Blvd., Homewood, California
96141 (“Real Property”) was 11 U.S.C. §541 property of the bankrupt estate of Nathan L. Topol
(“Debtor”) effective as of the Petition Date of May 1, 2012. On November 19, 2015, the
Trustee sold the Real Property pursuant to an order of this Court, and the sum of $6.2 Million
has been held by the Trustee in a segregated bank account pending outcome of this adversary
proceeding. (Declaration of Stephen R. Harris, Esq.)

2. A Deed of Trust was recorded on October 16, 2002, in Placer County, California,
as Document No. 2002-0125157 against the Real Property, naming the Borrower as Nathan L.
Topol, a married man as his sole and separate property, and naming Citibank, F.S_B. as the
Lender. The Deed of Trust indicates in the upper, left hand corner, that the recording was
requested by Sierra Valley Title Company, and “when recorded mail to: Citibank, F.S.B., c/o
CitiMortgage, Inc., P.O. Box 9206, MS 81026, Farmington Hills, MI 48333-9206.” The Deed
of Trust indicates Sierra Valley #34-506527 NM also in the upper left hand corner.
(Declaration of Stephen R. Harris, Esq., at Exhibit A).

3. A Full Reconveyance was recorded on January 12, 2004, in Placer County,
California, as Document No. 2004-0002629. The Full Reconveyance states that it reconveys all
the estate, title and interest under the Deed of Trust executed by Nathan L. Topol, a married
man as his sole and separate property, and recorded December 16, 2002 as Serial No. 2002-

0125157. The Full Reconveyance was executed by Regina Kay Krahn, Assistant Secretary for

 

 
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Sierra Valley Title Company, and notarized by Cari Lemos on January 6, 2004. The Full
Reconveyance references Escrow No. DG-54506527-NM, and Title Order No. 506527. The
upper, left hand corner of the Full Reconveyance indicates that the recording was requested by
Sierra Valley Title Company, and “when recorded mail to: Citibank, FSB, c/o CitiMortgage,
Inc., P.O. Box 9206, MS 81026, Farmington Hills, MI 48333-9206.” (Declaration of Stephen R.
Harris, Esq. at Exhibit B).

4. Regina Garland is an assistant secretary for SVT. As part of her duties, she
handled requests for reconveyances and reconveyances. (Garland Deposition Page 18, attached
to Declaration of Stephen R. Harris, Esq. as Exhibit C).

5. As an assistant secretary, the only document she would execute is a full
reconveyance. (Garland Deposition Pages 42-43, attached to Declaration of Stephen R. Harris,
Esq. as Exhibit C).

6. As an assistant secretary Ms. Garland would sign as many as 20 reconveyances a
month. (Garland Deposition Page 43, attached to Declaration of Stephen R. Harris, Esq. as
Exhibit C).

7. Before Ms. Garland would sign a full reconveyance as an assistant secretary, she
would normally have a substitution of Trustee. (Garland Deposition Page 35, attached to
Declaration of Stephen R. Harris, Esq. as Exhibit C).

8. The Full Reconveyance references the date of the Deed of Trust as December 16,
2002 which is a typo, The date was really October 16, 2002. (Garland Deposition Page 40,
attached to Declaration of Stephen R. Harris, Esq. as Exhibit Cc}.

9, The Full Reconveyance references the correct serial number of the Deed of Trust
which supersedes the wrong month. (Garland Deposition Page 40, attached to Declaration of
Stephen R. Harris, Esq. as Exhibit C).

10. Ms. Garland’s normal procedure for executing a full reconveyance was to have a
request for reconveyance signed by the beneficiary. (Garland Deposition Page 49, attached to
Declaration of Stephen R. Harris, Esq. as Exhibit C).

Ll, Ms. Garland would only prepare a substitution of trustee at the request of the

 
Harris Law Practice LLC
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lender. Most of the time if there was a substitution of trustee that substituted in Stewart Title, it
had been prepared before it got to Ms. Garland. (Garland Deposition Page 69, attached to
Declaration of Stephen R. Harris, Esq. as Exhibit C),

12. Ms. Garland testified that she believed documents pertaining to any escrow
transaction were stored by SVT for seven years after the date of the transaction. SVT has a
small storage area and would send documents to a storage facility at Iron Mountain. (Garland
Deposition Page 45 attached to Declaration of Stephen R. Harris, Esq. as Exhibit C).

13. At the time Ms. Garland left SVT, the company was shredding old documents.
(Garland Deposition Page 46, attached to Declaration of Stephen R, Harris, Esq. as Exhibit C).

14. Under cross examination by Mr. Demetras, Ms. Garland testified that the
documents associated with this loan would have been held at SVT with escrow officer Nicole
Miller, and have now been shredded. (Garland Deposition Page 87, attached to Declaration of
Stephen R. Harris, Esq. as Exhibit C).

15, Ms. Garland believed the files are legally required to be kept for seven years, and
after that time, it is a housekeeping question as to whether to shred them. (Garland Deposition
Page 90, attached to Declaration of Stephen R. Harris, Esq. as Exhibit C).

16. The decision of file shredding is made at SVT’s main office. (Garland
Deposition Page 90, attached to Declaration of Stephen R. Harris, Esq. as Exhibit C).

L7. Ms. Garland testified that she spoke with Mr. Harris‘ paralegal on the telephone
and informed her that the the escrow file related to the Citi Deed of Trust and Full
Reconveyance had been shredded. (Garland Deposition Page 91, attached to Declaration of
Stephen R. Harris, Esq. as Exhibit C).

18. On June 24, 2014, CitiMortgage, Inc. (“Citi”) filed a NOTICE OF INTENT TO
SERVE SUBPOENA ON NON-PARTY as Docket No. 905 in Case No. 12-51014-btb.
(Declaration of Stephen R. Harris, Esq. at Exhibit D).

19, On June 25, 2014, Stephen R. Harris emailed Eddie Jimenez, Esq., to request a
copy of the Subpoena that Citi intended to serve on Sierra Valley Title Company (“SVT”). On

June 30, 2014, Mr. Jimenez responded to Mr. Harris via email and included a copy of the

 

 

 
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Subpoena in his email. (Declaration of Stephen R. Harris, Esq. at Exhibit E),
20.

referring and/or relating to the real property located at 4250 West Lake Boulevard, Homewood,

The SVT Subpoena commanded, in part, production “of any and all documents

CA 96141...”. (Declaration of Stephen R. Harris, Esq. at Exhibit E).

21. The SVT Subpoena specifically requested production of all documents referring
or relating to the Citi Full Reconveyance, the underlying escrow for the Citi Deed of Trust, and
the substitution of trustee for the Deed of Trust. (Declaration of Stephen R. Harris, Esq. at
Exhibit E).

22, The SVT Subpoena required production of the documents from SVT by July 8,
2014. (Declaration of Stephen R. Harris, Esq. at Exhibit E).

23. On September 5, 2014, Stephen R. Harris, Esq. emailed Eddie Jimenez, Esq. a
letter, requesting among other things copies of all documents Mr. Hmenez had received in
response to the SVT Subpoena. (Declaration of Stephen R. Harris, Esq. at Exhibit F).

24, On September 10, 2014, Eddie Jimenez, Esq. emailed Stephen R. Harris, Esq.
and responded that the Subpoena was served on Sierra Valley Title Company and Mr. Jimenez
was advised that all records had been purged. As a result, no documents responsive to the

Subpoena were produced by SVT. (Declaration of Stephen R. Harris, Esq. at Exhibit G).

DATED this 3" day of November, 2016
HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511
/s/ Stephen R. Harris

 

y.
STEPHEN R. HARRIS, ESQ.

ECHEVERRIA LAW OFFICE
9432 Double R Blvd.
Reno, NV 89521

/sf John Echeverria
By
JOHN ECHEVERRIA, ESO.
Attorneys for Trustee/Third Party Plaintiff

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STEPHEN R. HARRIS, ESQ.
Nevada Bar No. 001463

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Attorneys for Trustee/Third Party Plaintiff

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Page 6 of 167

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

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IN RE:
NATHAN L. TOPOL, an individual,

Debtor.
/
-CITIMORTGAGE, INC., a corporation,

Plaintiff,
v.

W, DONALD GIESEKE, Trustee of the
NATHAN L. TOPOL bankruptcy estate, et
al.
Defendants.
/

 

W. DONALD GIESEKE, Trustee of the
NATHAN L. TOPOL bankruptcy estate

Third Party Plaintiff,

 

Case No.: BK~12-51014-btb
(Chapter 7)

Adversary Case No. 15-05015-gwz

DECLARATION OF STEPHEN R.
HARRIS EN SUPPORT OF TRUSTEE’S
STATEMENT OF UNDISPUTED FACTS
EIN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT_OR PARTIAL
SUMMARY JUDGMENT

AGAINST CITIMORTGAGE, INC.’S
COMPLAINT

Hrg. Date: December 15, 2016
Hrg. Time: 2:00 p.m.

Est. Time: 2 hours

Set By: Calendar Clerk

 
Harris Law Practice LLC
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Reno, Nevada 89511
(775) 786 7600

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STEWART TITLE OF PLACER, a
California corporation, fka SIERRA
VALLEY TITLE COMPANY, and its
successors,

Third Party Defendant.

STEPHEN R. HARRIS, ESQ., an individual, under penalty of perjury states as follows:

l. Tam an attorney duly licensed in the State of Nevada. 1 am the duly appointed
general bankruptcy counsel for W. Donald Gieseke, Trustee (“Trustee”) of the bankrupt estate
of NATHAN L. TOPOL, in Chapter 7 Case No. 12-51014-gwz. The Trustee is also a
Defendant and Third Party Plaintiff in the above-captioned adversary proceeding. | am over the
age of 18 years, am mentally competent and have personal knowledge of the matters set forth in
this declaration. If called upon as a witness, | could and would competently testify to these
matters.

2, Certain real property located at 4250 W. Lake Blvd., Homewood, California
96141 (“Real Property”) was 11 U.S.C. §541 property of the bankrupt estate of Nathan L. Topol
(“Debtor”) effective as of the Petition Date of May {, 2012. On November 19, 2015, the
Trustee sold the Real Property pursuant to an order of this Court, and the sum of $6.2 Million
Dollars has been held by the Trustee in a segregated bank account pending outcome of this
adversary proceeding.

3. A Deed of Trust was recorded on October 16, 2002, in Placer County, California,
as Document No. 2002-0125157 against the Real Property, naming the Borrower as Nathan L.
Topol, a married man as his sole and separate property, and naming Citibank, F.S.B. as the
Lender. The Deed of Trust indicates in the upper, left hand comer, that the recording was
requested by Sierra Valley Title Company, and “when recorded mail to: Citibank, F.S.B., c/o
CitiMortgage, Inc., P.O. Box 9206, MS 81026, Farmington Hills, MI 48333-9206.” The Deed
of Trust indicates Sierra Valley #34-506527 NM also in the upper left hand corner. A true and
correct copy of the recorded Deed of Trust is attached hereto as Exhibit A.

4. A Full Reconveyance was recorded on January 12, 2004, in Placer County,

 

 

 
Harris Law Practice LEC
GIS? Lakeside Drive
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California, as Document No. 2004-0002629. The Full Reconveyance states that itreconveys ail
the estate, title and interest under the Deed of Trust executed by Nathan L. Topol, a married
man as his sole and separate property, and recorded December 16, 2002 as Serial No. 2002-
0125157. The Full Reconveyance was executed by Regina Kay Krahn, Assistant Secretary for
Sierra Valley Title Company, and notarized by Cari Lemos on January 6, 2004. The Full
Reconveyance references Escrow No. DG-54506527-NM, and Title Order No. 506527. The
upper, left hand corner of the Full Reconveyance indicates that the recording was requested by
Sierra Valley Title Company, and “when recorded mail to: Citibank, FSB, c/o CitiMortgage,
Inc., P.O. Box 9206, MS 81026, Farmington Hills, MI 48333-9206.” A true and correct copy of
the recorded Deed of Trust is attached hereto as Exhibit B.

4. On November 25, 2014, I took the deposition of Regina Garland, fka Regina Kay
Krahn. A true and correct copy of the transcript of Regina Garland’s deposition is attached
hereto as Exhibit C.

5. On June 24, 2014, CitiMortgage, Inc. (“Citi”) filed a NOTICE OF INTENT TO
SERVE SUBPOENA ON NON-PARTY as Docket No. 905 in Case No. 12-51014-btb. A true
and correct copy of Docket No. 905 is attached hereto as Exhibit D.

6. On June 25, 2014, I emailed Eddie Jimenez, Esq., counsel for Citi, to request a
copy of the Subpoena that Citi intended to serve on Sierra Valley Title Company SVT”). On
June 30, 2014, Mr. Jimenez responded to me via email and included a copy of the Subpoena in
his email. A copy of my June 25, 2014 email and Mr. Jimenez’s Jume 30, 2014 email, with
attachments, are attached hereto as Exhibit E.

7. The SVT Subpoena commanded, in part, production “of any and all documents
referring and/or relating to the real property located at 4250 West Lake Boulevard, Homewood,
CA 96141...”. See Exhibit E.

8. The SVT Subpoena specifically requested production of “all documents referring
or relating to the Citi Full Reconveyance, the underlying escrow for the Citi Deed of Trust, and
the substitution of trustee for the Deed of Trust. ...”. See Exhibit E.

9, The SVT Subpoena required production of the documents from SVT by J uly 8,

 

 
 

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| |} 2014. See Exhibit E.
2 10. On September 5, 2014, | emailed Eddie Jimenez, Esq. a letter, requesting among
3 j|other things copies of all documents Mr. Jimenez had received in response to the SVT
4 |; Subpoena, A true and correct copy of my September 5, 2014 email and letter enclosure (with
5 j;emphasis added) to Mr. Jimenez are attached hereto as Exhibit F.
6 LL. On September 10, 2014, Eddie Jimenez, Esq. responded to me via email
7 || confirming that the Subpoena was served on Sierra Valley Title Company and Mr. Jimenez was
8 || advised that all records had been purged. A true and correct copy of Mr. Jimenez’s September
9 || 10, 2014 email (with emphasis added) is attached hereto as Exhibit G. No documents

10 |: responsive to the Subpoena issued by Citi were produced by SVT.

i. DATED this 3™ day of November, 2016

12 /s/ Stephen R. Harris

13 STEPHEN R. HARRIS, ESO.

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EXHIBIT A
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Seeea.\alley* . * Tel Pd $48.08 Nor-@0007@8R | ~4i5

288s Non Ores Forty Drive

Saint Louis, MO 63141

When Recorded Mail to:

Citibank, F.S.B.

c/o CitiMortgage, Inc. f

P.O. Box 9206, MS 81026

Farmington Hills, MT 48333-9206
Send Tax Notices to:

Citibank, F.S8.B.

P.O, Box 790009

Saint Louis, MO 63141

OANOT BILL p

~ Loan No: O27

 

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DEED OF TRUST

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18, 20 and
21. Certain rules regarding the usage of words used in this document are aiso provided in Section 16.

(A) “Security Instrument?’ means this document, which is dated Octaher 9, 2002, together with all Riders to this document,
®} “Borrower”? is Nathan Topol, 2 married man as bis sole and seperate property. Borrower is the wustor under this
Security Instrument,

() “Lender” is Citibank, F.S.B., Lender is a Savings Bank organized and existing under the laws of the United States.
Lender’s address is 1 Court Square, Fleor 20, Long Island City, NY 11120. Lender is the beneficiary under this Security
instrument,

(DD) “Trustee” is Citibank Service Corp, A California Corporation.

(E} “Note means the Promissory note signed by Borrower and dated October 9, 2002. The Note states that Borrower owes
Lender Five Million Five Hundred Thousand Dollars (U.S. $5,500,000.00) plus interest. Borrower has promised to pay this
debt in regular Periodic Payments and to pay the debt in full act later than November 1, 2032. : oo

CALIFORNIA ~ Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT . Form ef

C3006 - 01/11/2004 {827} Page 1 of 11 vod initials:

 
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® “Property”? means the property that is described below under the heading ‘‘Transfer of Rights in the Property.??

(G} “Loan”? means the debt evidenced by the Note, plus interest, auy prepayment charges and late charges due under the
Note, and ail sums due under this Security Instrument, plus interest.

(H) ‘Riders’? means all Riders to this Security Instrument that are executed by Borrower. The following Riders are to be
executed by Borrower: ms

[X] Adjustable Rate Rider ["}Condominium Rider ~~ - £"")Second Home Rider
‘{__ [Balloon Rider L..|Planned Unit Development Rider | jOther(s):
(__]1-4 Family Rider [__IBiweekly Payment Rider
a) “Applicable Law’? means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative cules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial opinions,
(} “Community Association Dues, Fees, and Assessments’ means all dues, fees, assessments and other chirges that are

imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.

{K) “Electronic Funds Transfer’? means any transfer of funds, other than a transaction originated by check, draft, or similar
paper instrament, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape so as to
order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not limited to,
point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and automated
clearinghouse transfers.

{Lh} “Escrow Htems!? means those items that are described in Section 3.

(vp “Miscellaneous Proceeds? means any compensation, settlement, award of damages, or proceeds paid by ay third party
{other than insurance proceeds paid under the coverages described in Section 5) for: (2) damage to, or destruction of, the Property;
(if) condemnation or other taking of all or any part of the Property: (Hi) conveyance in lieu of condemnation: or (iv}
misrepresentations of, or omissions as to, the value and/or condition of the Property, co

{N} “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the Loan.

(0) “Periodic Payment’* means the reguiarly scheduled amount due for: @) principal and interest under the Note, plas Gi} any
amounts under Section 3 of this Security instrament. :

P) “RESPA' means the Real Estate Settlement Procedures Act (12 U.S.C. § 2601 et seq.) and its implementing regulation,
Regulation X (24 C.F.R.Part 33500), as they might be amended from time to time, or any additional or successor legislation or
regulation that governs the same subject matter, As used in this Security Instrumen : ““RESPA" refers to all requirements and
restrictions that are imposed in regard ta a ‘federally related thortgage loan’? éven if the Loan does not qualify a3 a ‘‘federally
related mortgage loan’? under RESPA, -

(DB “Successor in Interest of Borrower?’ means any party that has taken title to the Property, whether or not that party has
assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications of the
Note; and (ii} the performance of Borrower's covenants and agreements under this Security Instrument and the Note. For this
purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power of sale, the following described property
located in the County of PLACER, California: .

See Attached Legal

CALIFORNIA - Single Family - Fannie Mae/Fredele Mac UNIFORM INSTRUMENT : Farr oy Vp!
C3005 - 08/11/2001 3827} Page 2 of 11 Initiais:* f

 

 
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which cutrently has the address of 4250 West Lake Boulevard, Homewood, CA 961dt (‘Property Address’"};

TOGETHER WITH all the improvements now or hereafter erected on the property, and afl easements, appurtenances, and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security Instrument.
All of the foregoing is referred to in this Security Instrument as the ““Property.”* . .

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to grant and
convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants and will |
defend generally the title to the Property against all claims and demands, subject to ‘any encumbrances of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
Variations by jurisdiction to constitute a uniform security instrament covering real property,

UNIFORM COVENANTS, Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow items, Prepayment Charges, and Late Charges. Borrower shall pay when
due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due under the
Note. Borrower shall also pay funds for Escrow ems Pursuant to Section 3. Payments due under the Note and this Security
Instrument shall be made in U.S. currency, However, if any check or other instrument received by Lender as payment under the
Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under
the Note and this Security Instrument be made in one or more of the following forms, as selected by Leader: (a) cash: (b) money
order; (c) certified check, bank check, treasurer’s check or cashier's check, provided any such check ig drawn upon an institution
whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Blectronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other location as

Security Instrument or performing the covenants and agreements secured by this Security Instrument,
2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted and ,
applied by Lender shall be applied in the following order of Priority: (a) interest due under the Note; (5) principal due under the

and then to reduce the principal balance of the Note, ms

if Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to pay
any late charge due, the payment may be applied to the delinquent payment and the late charge, If more than one Periodic Payment
is outstanding, Lender may apply any payment received from Borrower to the repayment of the Periodic Payments if, and to the

of one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be applied
first to any prepayment charges and then as described in the Note, ;

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shal! pay to Lender on the day Periodic Payments are due under the Note, until
the Note is paid in full, a sum (the ““Funds’*) to provide for payment of amounts due for: (a) taxes and assessments and other items
which can attain priority over this Security Instrument as a tien or encumbrance on the Property: (b) leasehold payments or ground
Fels on the Property, if any; (c} premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage
Insurance premiums, if any, Or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
accordance with the provisions of Section 10. These items are called “Escrow Iterns."” At origination or at any time during the
term of the Loan, Lender may require that Community Association Dues, Pees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section, Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to

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pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or ail Escrow
Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when and
where payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender

this Security lastrament, as the phrase “‘covenant and agreement” is used in Section 9. If Borrower is obligated to pay Escrow
Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise Hs rights

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shalt
apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower for
holding and applying the Fonds, anaually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays
Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings
on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shal) pay to Lender the amount necessary to make up the shortage in accordance
with RESPA, but in no more than 12 monthly payments. If there is 4 deficiency of Funds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments,

Upon payment in fall of ali sums secured by this Security Instrument, Lender shall promptly refund to, Borrower any
Funds held by Lender.

-4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the Property
which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if any, and Community
Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items, Borrower shail pay them in the
hlanner provided ia Section 3. ;

Bortower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: {a) agrees in
writing fo the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as Borrower is
performing such agreement: (b) contests the Hen in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings are pending, but only until such
proceedings are concluded; or (c) secures from the holder of the Hen an agreement satisfactory to Lender subordinating the lien to
this Security Instrument. If-Lender determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien, Within 10 days of the date on which that notice is
given, Borrower shall satisfy the lien or take one or more of the actions set forth above in thig Section 4.

Lender may require Borrower to pay 4 one-time charge for a real estate tax verification and/or reporting service used by
Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property insured
against loss by fire, hazards included within the term “‘extended coverage,’’ and any other hazards including, but not limited to,
earthquakes and floods, for which Lender requires insurance, This insurance shall be maintained in the amounts Gneluding
deductible levels} and for the periods that Lender requires. What Lender Tequires pursuant to the preceding sentences can change

disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require Borrower to pay, in
connection with this Loan, either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b} a
one-time charge for flood zone determination and certification services and subsequent charges each time remappings or similar
changes occur which reasonably might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

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if Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender’s
option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage. Therefore,
such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the Property, or the contents of
the Property, against any risk, hazard or Hiability and might provide greater or lesser coverage than wag previously in effect,
Borrower acknowledges that the cost of the insurance Coverage so obtained might significantly exceed the cost of insurance that
Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower

Hot economically feasible or Lender’s Security would be lessened, the insurance Proceeds shall be applied to the sums secured. by
this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be
applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related matters.
If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered fo settle a claim, then
Lender may negotiate and settle the claim. The 30-day period wilt begin when the notice is given. In cither event, or if Lender
acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
Proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
Borrower's rights (other than the right to any refund of uneamed premiums paid by Borrower) under afi insurance policies covering
the Property, insofar as such Tights are applicable to the coverage of the Property, Lender may use the insurance proceeds either to
repair or restore the Property or to pay amounts unpaid under the Note or this Security Instrument, whether Or not then due.

6 Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within 60 days
after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's Principal residence for at
least one year after the date of Occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably
withheld, or untess extenuating circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower Shall aot destroy, damage or
impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is residing in the
Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing in. value due to its
condition, Unless it-is determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall

in connection with damage to, or the faking of, the Property, Borrower shall be responsible for repairing or restoring the Property
only if Lender has released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single
paymient or in a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration,

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has reasonable cause, Lender
may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of OT prior to such an
interior inspection specifying such reasonable cause.

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8. Borrower's Loan Application. Borrower shall be in defauit if, during the Loan application process, Borrower or any
persons or entities acting at the direction of Borrower or with Borrowet’s knowledge or consent gave materialty false, misleading,
or inaccurate information or statements to Lender (or failed to provide Lender with material information) in consetion with the
Loan. Material representations include, but are not Hmited (0, representations conceming Borrower’s occupancy of te Property as
Borrower's principal residence. Ba

$. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a) Borrower fails to
perform the covenants and agreements contained in this Security Instrument, (b) there: isa legal proceeding that might significantly
affect Lender’s interest in the Property and/or tights under this Security Instrument (such as a proceeding in banknptcy, probate,
for condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security Instrument or ta enforce laws
or regulations), or (c) Borrower has abandoned the Property, thien Lender may do and pay for whatever ig reasonable of appropriate
io protect Lender’s interest in the Property and tights under this Security Instrument, inchiding protecting and/or assessing the
value of the Property, and securing and/or repairing the Property, Lender’s actions can include, but are not limited to: (a) paying
any sums secured by a lien which has priority over this Security instrament; (6) appearing in court; and (c} paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks,
replace or board up doors and windows, drain water from pipes, eliminate building or other code violations of dangerous
conditions, and have utilities turned on or off. Although Lender may take action under this Section 9, Lender does not have to do
so and is not under any duty or obligation to do so. It is agreed that Lender incurs no Hability for not taking any or all actions
authorized under this Section 9.

Any arnounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
Instrument. These amouuts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such
interest, upon notice from Lender to Borrower requesting payment. +:

If this Security Instrument ison a leasehold, Borrower shall comply with all the provisions of the lease. If Borrower
acquires fee tide to the Property, the leasehold and the fee title shall nat merge umdess Lender agrees to the merger in writing,

1G. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrewer shall. pay
the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance coverage required
by Lender ceases to be available from the mortgage insurer that previously provided such insurance and Borrower wes required to
make separately designated payments toward the premiums for Morigage Insurance, Borrower shall pay the premiums required to

obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost
to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If substantially
equivalent Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in Heu of Mortgage Insurance. Such loss reserve :shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or
earnings on such joss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount
and for the period that Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and Lender
requires separately designated payments toward the premiums for Mortgage Insurance. If Lender required. Mortgage Insurance as: a
condition of making the Loan and Borrower was required to make separately designated payments toward the premiums for
Mortgage Insurance,, Borrower shal! pay the premiums required to maintain Mortgage Insurance in effect, ot to provide a
non-refimdable loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
does not repay the Loan as agreed. Borrower is nota party to the Mortgage Insurance. ,

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into agreements
with other parties that share or modify their risk, or reduce losses, These agreements are on terms and conditions that are
satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These agreements may require the
morigage insurer to make payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from Mortgage Insurance premiums).

As a regult of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or any
affitiate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized as} a
portion of Borrower’s payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer's risk, or
reducing losses. If such agreement provides that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of
the premiums paid to the insurer, the arrangement is ofien termed “captive reinsurance,”’ Purther:

{a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance, or
any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage Insurance, and
they will not entitle Borrower to any refund.

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{bh} Any such agreements will not affect the rights Borrower hag - if any ~ with respect to the Mortgage Insurance
under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a, refund of any Mortgage Insurance premiums that were unearned at the time of such
cancellation or termination. ,

ll. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall be
paid to Lender, a .

If the Property is damaged, such Miscellaneous Proceeds shall be appliéd to-restoration or repair of the Property, if the
Festoration or repair is economically feasible and Lender's sccurity is not lessened, During such repair and restoration period,
Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an Opportunity to inspect such Property to
ensure the work has been completed to Lender’s satisfaction, provided that such inspection shall he undertaken promptly. Lender

Unless an agreement is made in writing or Applicable Law requires interest to be pald on such Miscellancous Proceeds, Lender
shall not be required to Pay Borrower any interest or carnings on such Miscellaneous Proceeds, If the restoration or repair is not
economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sams secured by
this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower, Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a totat taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid ta Borrower,

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums secured by this
Security Instrument immediately before the Partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the Partial taking, destruction, or
loss in value divided by (b) the fair market value of the Property immediately before the partial taking, destruction, or loss in value,
Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured immediately before
the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in Writing, the Miscelfancous Proceeds
Shall be applied to the sums secured by this Security Instrument whether OF not the sums are then due.

Ifthe Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined in
the next sentence) offers to make an award to settle a Claim for damages, Borrower fails fo respond to Lender within 30 days after
the date the notive is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of
the Property dr to the sums secured by this Security Instrument, whether or not then due. ‘Opposing Party’? means the third party
ihat owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a tight of action in regard to Miscellaneous

Borrower shall be in default if any action or proceeding, whether civit or criminal, is begun that, in Lender’s judgment,
could-result in forfeiture of the Property or other material impairment of Lender’s interest in the Property or rights under this
Security Instrement, Borrower can cure such a default and, if seceleration has octurréd, reinstate as provided in Section 19, by
Causing the action or proceeding to be dismissed with a ruling that, in Lendex’s judgment, precludes forfeiture of the Property or
| other material impairment of Lender's interest in the Property or rights under this Security Instrament, The ‘proceeds of any award
or claim for damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned and shall be
paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shal! be applied in the order
provided for in Section 2. -

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modification
of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor in Interest af
Borrower shall not Operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall not be

without limitation, Lender’s acceptance of payments from third persons, entities or Successors in Interest of Borrower or in
amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.

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13. Joint and: Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument but
does not execute the Note (a ‘“‘co-signer'’): (a) is co-signing this Security Instrument only to mortgage, grant aid convey the
co-signer’s interest in the Property under the terms of this Security Instrument; (b} is net. personally obligated to pay the sums
secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower’s obligations under
this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower’s Tights and benefits under this Security
instrument. Borrower shall not be released from Borrower's obligations and lability under this Security Instrument unless Lender
agrees to such release in writing. The covenants and agreements of this Security Instrament shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges, Lender may charge Borrower fees for services performed in connection with Borrower's default, for
the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, but not limited to,
attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not
charge fees that are expressly prohibited by this Security Instrument or by Applicable Law. ‘

if the Loan is subject to a law which sely maximum loan charges, and that law is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected
from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing
the principal owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the
Note). Borrower’s acceptance of any such refund made by direct payment ta Borrower will constitute a waiver of any tight of
action Borrower might have arising out of such overcharge. :

15. Notices, All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Horrower when mailed
by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice to any one Borrower
Shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise.. The notice address shall be the
Property Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Botrower’s change of address. If Lender specifies a procedure for reporting Borrower's change of address, then
Borrower shall only report a change of address through that specified procedure. There may be only one designated notice address
under this Security Instrument at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first. class
mail to Lender’s address stated herein wiless Lender has: designated ‘another address by notice to Borrower, Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. If
any. notice required by this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrament.. a

16. Governing Law; Severability; Rules of Construction. ‘This Security Instrument shall be governed by federal law
and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security Instrument are
subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to
agree by contract or it might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In the
event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not
affect other provisions of this Security Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter words
or words of the feminine gender; (b) words in the Singular shall mean and include the plural and vice versa; and (c) the word
“toay”? gives sole discretion without any obligation to take any action. -

17, Borrower’s Copy. Borrower shali be given one copy of the Note and of this Security Instrument. .

18, Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 1%, ‘Interest in the
Property’’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests transferred
in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by
Borrower at a future date to a purchaser,

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If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be exercised by Lender
if such exercise is prohibited by Applicable Law. ;

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall Provide a period of not
less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay all sums secured
by this Security Instrument, If Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower.

19, Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall have the
right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before sale of
the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period as Applicable Law might
specify for the termination of Borrower's right to reinstate; or (c} eatry of a judgment enforcing this Security Instrement. Those
conditions are that Borrower: (a) pays Lender all sums which then would de due under this Security Instrument and the Note as if
ho acceleration had occurred; (b) cures any default of aay other covenants or agreements; (c) pays all expenses incurred in
enforcing this Security Instrument, ineluding, but not limited fo, reasonable attorneys’ fees, property inspection and valuation fees,
and other fees incurred for the purpose of protecting Lender's interest in the Property and rights under this Security instrament; and
(d) takes such action as Lender may Teasonably require to assure that Lender's interest in the Property and rights under this
Security Instrument, and Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged,
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected by
Lender: {a} cash: (b) tnoney order; (c) certified check, bank check, treasurer's check or cashier’s check, provided any such check ig
drawn upon an institution whose deposits are insured by a federal agency, instromentality or entity; or (d) Electronic Funds
Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as
if no acceleration had occurred, However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
with this Security instrument) can be sold one or more times without prior notice to Borrower. A sale might result ina change in
the entity (known as the “Loan Servicer’’) that collects Periodic Payments due under the Note and this Security Instrument and
performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might
be one or more changes Of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower
will be given written notice of the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of transfer of servicing. If the
Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the motigage toan
servicing obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant or
the member of a class) that arises from the other party’s actions Pursuant to this Security Instrument or that alleges that the other
party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower or Lender has
notified the other party (with such notice given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after the giving of such notice to take corrective action. If Applicable Law
provides a time period which must elapse before certain action can be taken, that time period will be deemed to be reasonable for
Purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the
notice of acceleration given to Borrower pursuant to Section 18 shalt be deemed to Satisfy the notice and Opportunity to take
corrective action provisions of this Section 20,

21. Hazardous Substances, As used in this Section 21: (a) “Hazardous Substances’ are those substances defined as
toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
formaldehyde, and radioactive materials; (b) ‘‘Enviranmental Law’? means federal laws and laws of the jurisdiction where the
Property is located that relate to health, safety or environmental protection; (c} ‘Environmental Cleanup’ includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an ‘Environmental Condition” means a
condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

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Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do, anything
affecting the Property (a) that is in violation of any Environmental Law, (b} which creates an Environmental Condition, or (c}
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects the value of the
Property. The preceding two sentences shall not apply to the presence, use, or Storage on the Property of smzll quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
(including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of {a) any investigation, claim, demand, lawsuit or other action by any

which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance affectag the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Enviroamental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows: .

22, Acceleration; Lender shall give notice to Borrower prior to acceleration following Borrower’s breach of any
covenant or agreement in this Security Instrument (but not prior to acceleration under. Section 18 unless Applicable Law
provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the default; (c} a date, not less -
than 30 days from the date the notice is given to Borrower, by which the default must be cured; and (d} that failure to cure
the default an or before the date specified in the notice may result in acceleration of the sums secured by this Security
instrument and sale of the Property. The notice shall further inform Borrower of the right to reinstate after acceleration and-
the right to bring a court action to assert the non-existence of a default or any other defense of Borrower to acedleration and
sale. If the default is not cured on or before the date specified in the notice, Lender at its option niay require immediate
payment in Full of all sums secured by this Security Instrument without further demand and may invoke the power of sale
and any other remedies permitted by Applicable Law, Lender shail be entitled to collect all expenses incurred in pursuing
the remedies provided in this Section 22, including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the power of sale, Lender shall execute or cause ‘Trustee to execute a written notice of the

prescribed by Applicable Law to Borrower and to the other persons prescribed by Applicable Law. Trustee shall give public
notice of sale te the persons and in the manner prescribed by Applicable Law. After the time required by Applicable Law,
Trustee, without demand on Borrower, shall sell the Property at public auction to the highest bidder at the time and place
and under the terms designated in the notice of sale in one er more parcels and in any order ‘Trustee determines. Trustee .
may postpone sale of all or any parcel of the Property by public announcement at the time and place of any previously
scheduled sale, Lender or its designee may purchase the Property at any sale,

‘frustee shall deliver to the purchaser Trustee’s deed conveying the Property without any covenant or warranty,
expressed or implied. The recitals in the ‘Trustee's deed shall be prima facie evidence of the truth-of the statements made
therein. Trustee shall apply the proceeds of the sale in the following order: (a) io all expenses of the sale, including, but not
limited to, reasonable Trustee's and attorneys’ fees; (b) to all sums secured by this Security Instrument; and (c) any excess to
the person or persons legally entitled to it.

43. Reconveyance. Upon payment of.all sums secured by this Security Instrument, Lender shal? request Trustee to
reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this Security Instrument.
to Trustee. Trustee shall reconvey the Property without warranty to.the person or persons legally entitled to it. Lender may charge
such person or persons a reasonable fee for reconveying the Property, but only if the fee is paid to a third party (such as the
Trustee) for services rendered and the charging of the fee is permitted under Applicable Law, If the fee charged does not exceed the
fee set by Applicable Law, the fee is conclusively presumed to be reasonable. .

24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any Trustee appointed
hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the Recorder of the county in
which the Property is located. The instrument shall contain the name of the original Lender, Trustee and Borrower, the book and
page where this Security Instrument is recorded and the name and address of the suecessor trustee. Without. conveyance of the
Property, the successor trustee shall succeed to all the title, powers and duties conferred upon the Trustee herein and by Applicable
Law. This procedure for substitution of trustee shall govern to the exclusion of all other provisions for substitution,

25. Statement of Obligation Fee, Lender may collect a fee not to exceed the maximum amount permitted by Applicable
Law for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.

CALIFORNIA - Single Family - Fannie Mae/Freddie Mac UNIFGRM INSTRUMENT . . Form 3005 1/01
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BY SIGNING BELOW, Borrower accepts and

; ] agrees to the terms and covenants contained in this Security Instrurnent and
in any Rider executed by Borrower and recorded with it .

. Witnesses:

 

 

 

 

 

 

[Space Below This Line For Acknowledgment]

CERTIFICATE OF ACKNOWLEDGMENT

 

STATE OF KN bide )
COUNTY OF bee ‘s

and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s} acted, executed the instrument.

 

 

 

 

 

 

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CALIFORNIA - Single Family - Fannie Maa/freddie Mac UNIFORM INSTRUMENT Form 3005 04
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No.: §82°7

Lo
FIXED/ADJUSTABLE RATE RIDER "

(One-Year Treasury Index - Rate Caps}

THIS FIXED/ADJUSTABLE RATE RIDER is made this Ninth day of October, 2002, and
is incorporated into and shal} be deemed to amend and Supplement the Morigage, or Security Deed (the “Security
Instrument’’} of the same date given by the undersigned (“Borrower’’) to secure Borrower's Fixed/Adjustable
Rate Note (the “‘Note’’) to Citibank, F.S.B. (“‘Lender’ ") of the same date and covering the Property described in
the Security Instrument and located at:

4250 West Lake Boulevard, Homewood, CA 96141
{Property Address]

THE NOTE PROVIDES FoR A CHANGE iN BORROWER'S FIXED INTEREST RATE To AN
ADJUSTABLE INTEREST RATE. THE NOTE LIMITS THE AMOUNT BORROWER’S
ADJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE MaxUuMUM
RATE BORROWER MUST PAY.

The Note provides for an initial fixed interest rate of 3.375%, The Note provides for changes in the initial
fixed rate to an adjustable interest rate, as follows:
4, ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates
The initial fixed interest rate | will pay will change to an adjustable interest rate on the first day of

(B) The Index

Beginning with the first Change Date, my adjustable interest rate will be based on an Index. The
“Index” is the weekly average yield on United States Treasury securities adjusted to a constant maturity of one
year, as made available by the Federal Reserve Board. The most recent Index figure available as of the date 4§
days before each Change Date is called the “‘Current Index,"* °

If the Index is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice,

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding
Two & 875/1000 percentage points (2.875%) to the Current Index. The Note Holder will then round the result
of this addition to the nearest one-eighth of one percentage point (0.125%). Subject to the limits Stated in Section
4(D) below, this rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be sufficient to
Tepay the unpaid Principal that I am expected to owe at the Change Date in full on the Maturity Date at my new
interest rate in substantially equal payments. The result of this calculation will be the new amount of my monthly

payment.

MULTISTATE FIXED/ADJUSTABLE RATE RIDER. ONE-YEAR TREASURY INDEX~Single Family--Fannie Mae Uniform Instrument

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Initials:

 
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(®) Limits on Interest Rate Changes

The interest rate 1 am required to pay at the first Change Date will not be greater than 7.375% or less
than 3.375%, Thereafter, tiny adjustable interest rate will never be increased or decreased on any single Change
Date by more than two percentage points from the rate of interest | have been paying for the preceding 12 months.
My interest rate will never be greater than 10.375%,

{E) Effective Date of Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new
monthly payment beginning on the first monthly payment date after the Change Date until the. amount of my
monthly payment changes again.

() Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my initial fixed interest rate to an
adjustable interest rate and of any changes in my adjustable interest rate before the effective date of any change.
The notice will include the amount of my monthly payment, any information required by law to be given to me
and also the ude and telephone number of a person who will answer any question I may have régarding the notice, .

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

1. Until Borrower's initial fixed interest rate changes to an adjustable interest rate under the terms sated
in Section A above, Uniform Covenant 18 of the Security Instrument shall be in effect as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “Interest in
the Property’’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the
intent of which is the transfer of title by Borrower at a future date to-2 purchaser,

If all or any part of the Property or any Interest in the Property is sald or transferred (or if Borrower is-
not a natural person and a beneficial interest in Horrower is sold or transferred) without Lender's prior written
cousent, Lender may require immediate payment in full of all sums secured by this Security. Instrument. However,
this option shali not be exercised by Lender if such exercise is prohibited by Applicable Law. .

If Lender exercises this option, Lender shall give Borrower notice of acceleration, The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within-
which Borrower must pay all sums secured by this Security Instrumént, If Borrower fails to pay these sums prior
to the expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without:
further notice or demand on Borrower. ,

2. When Borrower's initial fixed interest rate changes to an adjustable interest rate under the terms stated
in Section A above, Uniform Covenant 18 of the Security Instrument described in Section BL above shall then
cease to be in effect, and the provisions of Uniform Covenant 18 of the Security Instrument shall be amended to
read as follows:

Transfer of the Property er a Beneficial Interest in Borrower. As used in this Section 18, “Interest in
the Property’’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, instalment sales contract or escrow agreement, the
intent of which is the transfer of title by Borrower at a future date to a purchaser.

MULTISTATE FIXED/AQJUSTABLE RATE RIDER-- ONE-YEAR TREASURY INDEX--Single Family-Fannie Mae Uniform Instrumant

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If all or any part of the Property or any Interest in the Property is sold or transferred {or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all suis secured by this Security Instrument. However,
this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law. Lender also shall

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender’s consent to the loan assumption. Lender also may require the transferee to sign an assumption agreement
that is acceptable to Lender and that obligates the transferee to keep all the promises and agreements made in the
Note and in this Security Instrument, Borrower will continue to be obligated under the Note and this Security
Instrument unless Lender releases Borrower in writing,

if Lender exercises the Option to require immediate payment in full, Lender shall give Borrower notice of

BY SIGNING BELOW, Borrower accepts and. agrees to the terms and covenants contained in this

Fixed/Adjustable Rate Rider.
Wty 9 | ond (Seal)
| V

  

. Popo! ~Horrower

MULTISTATE FIXED/ADJUSTASLE RATE RIDER- ONE-YEAR TREASURY INDEX-Single Farnily-Fannie Mae Uniferm Instrument
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EXHIBIT ai +.

 

The land referred ta in this Report is situated in the State of California, County of
Placer, and is described as follows:

PARCEL ONE:

Beginning at the Southwest corner of the Parcel described hereby, a point on the
Easterly tine of the California State Highway, said point dbeing identical with the
Northwest corner of the Property described in that certain Deed to Rhoades, recorded
in Volume 882, at Page 24 of the Official Records of Placer County, and from Said
point, the stump of a fir tree marking the meander corner comrnon to fractional
Section 36, Township 15 North, Range 16 East, MDB&M and fractional Section 1,
Township 14 North, Range 18 East, MOB&M, hears the following two consecutive
courses: {1} South 02°39°40" West 160.00 feet and (2) South O7°40'40”" West
1628.64 feet: thence along the Easterly line of the California State Highway on the
following two consecutive courses: (1) North 02°39'40" for a distance of 98.99 feet
, 6nd (2) along the are of a curve to the right having a radius of 3460 feet, through
an angle of 02°54'°83" for 4 distance of 176.01 feet ( said arc being represented by
the chord of North 04°07'06.5”" East 176.00 feet); thence South 75°07'35” East
338,00 feet; thence South 31°54°39” West 225.00 feet to a point on the North line
of the parcel described in the above mentioned Deed to Rhoades: thence North
83°09’ 10" West along said North line for a distance of 225,00 feet to the point of
beginning.

PARCEL TWO:

All that certain strip of land which lies between the East line of the above described
Parcel and the iow water of Lake Tahoe and is bounded by the Easterly extensions of
the Northerly and Southerly lines of said parcel.

APN: 085-250-008

 
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SIERRA VALLEY TITLE COMPANY PLACER, County Recorder
AND WHEN RECORDED MAIL TO: JK RCCAULEY
DoCc- 2004-0002629

    

   
 

CITIBANK, FSB C/O CITIMORTGAGE, INC.

  
 
  
 

PO BOX 9206, MS 81026 Honday’ JAN 12, 280: ;
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TEL Pd = $7.08 Nbr-0001008297

eik/Sk/i-t

THIS SPACE FOR RECORODER’S USE ONLY:

 

 

ESCROW WO. 5G-54506527-NM . TITLE GRDER NO. 608527
| FULL RECONVEYANCE

 

 

SIERRA VALLEY TITLE COMPANY, a Corporation, Trustee under thea Deed of Trust executed by
NATHAN L. TOPOL, A MARRIED MAN AS HIS SOLE AND SEPARATE PROPERTY

Trustor, and recorded DECEMBER 16, 2062 as Serial No. 2002-0125157 in Book n/a, Page nla, oF
Official Records in the Office of the County Recorder of Placer County, Califarnia, having been
requested in writing by the holder of the obligation secured by said Oead of Trust, to reconvey the
estate granted to Trustee under said Deed of Trust, does hereby reconvey to the person ar persons
legally entitled thereto, withaut warranty, all the estate, title and interest acquired by Trustee under said
Deed of Trust in the lands therein described, situated in the County of Placer, State of California
reference being hereby specifically made to said Deed of Trust and the record thereot for a particular
description of said lands.

IN WITNESS WHEREOF, said SIERRA VALLEY TITLE COMPANY, Trustea, has caused its corporate
name and seal.to be hereto affixed by its Assistant Secretary, thereunto duly authorized.

 

 

 

DATED January 2, 2004 SIERRA VALLEY TITLE COMPANY

STATE OF CALIFORNIA <

COUNTY OF Z

On JANUAI bo zea BY: AL

before me, C1444 (es77A> REGINA KAY KRAHN, ASSISTANT SECRETARY
@ Notary Public in and for said State, personally BY:

 

 

appear : tt i.
Re Fa Katy Papa

 

personally known ta me (or proved io me on the
basis of satisfactory evidence} to be the person(s)
whose namets) is/are subscribed to the within
instrument and acknowledged to me that
he/she/they executed the same in his/her/their
authorized capacitylieg},and that by his/her/their
signature(s) on the igstrumeAt the person(s}, or
ityO Alf of which the person(s)

{oe CART LEMOS
= COMM. #1266731

Ep reps

  
    
 
   

Notary Public-Californ's -

YW PLACERCOUNTY
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Signature {This atea for official notarial seal)

 

 

 
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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 1

 

UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF NEVADA

IN RE: CASE NO.:
BK-12-51014~btb
NATHAN L. TOPOL, an individual, (Chapter 7)
Debtor.

 

DEPOSITION OF

REGINA K. GARLAND

November 25, 2014

L:27 p.m.

2151 River Plaza Drive, Suite 300

Sacramento, California

Mark S. Patterson, CSR No. 12432

 

 

 

 

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REGINA K. GARLAND
NATHAN L. TOPOL

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APPEARANCES OF COUNSEL

For the Trustee for TOPOL ESTATE:

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BY: STEPHEN R. HARRIS, ESO.

6151 Lakeside Drive

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Reno, Nevada 89511

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775.786.7764 Pax
steve@harrislawreno.com

For the Trustee of OPRT TOPOL:

DEMETRAS & O'NEILL

BY: J. CRATG DEMETRAS, ESO.
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Reno, Nevada 89501
775.348.4600

775.348.9315 Fax
icd@demetras-oneill.com

For CITIMORTGAGE, INC.:

PITE DUNCAN, LLP

BY: CHRISTOPHER M. MCDERMOTT, ESO.
921 11th Street

Suite 3006

Sacramento, California 95814
916.760.3722

858.412.2708 Fax
emcdermott@piteduncan.com

ALSO PRESENT:

DON GIESEKE

 

 

 

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Exhibit 12 Full Reconveyance

Exhibit 2 Deed of Trust

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 4

 

DEPOSITION OF REGINA K. GARLAND

November 25, 2014; 1:27 p.m.

REGINA K. GARLAND,

having been first duly sworn, testifies as follows:

EXAMINATION
BY MR. HARRIS:

Q Do you want to state your name and address,
please.

A Sure. Regina Kay Garland, 5305 Flagstone
street, Carmichael, California 95608.

Q And do you want to give your phone number too,
Regina?

A Certainly. (916) 961-1347.

Q Okay. First off, how would you like me to
address you? Ms. Garland? Or Regina? Kay? It's up to
you.

Kay works.

Kay works?

Kay is fine. Yeah.

Okay. Thank you very much.
Uh-huh.

Kay, my name is Steve Harris.

PO fF Oo Ff O P

Yes.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 5
Q I'm an attorney in Reno, Nevada.
A Uh-huh.

Q This is my client, Donald Gieseke. He's the
trustee for the Nathan Topol Estate.

A Uh-huh.

Q Over here is Mr. Demetras, and he represents
Virginia Topol, who is not in bankruptcy but her late
husband was in bankruptcy or is in bankruptcy.

A Okay.

0 And then over here is Chris --

MR. MCDERMOTT: Chris McDermott.

BY MR. HARRIS:

oO ~- McDermott.

MR. McDERMOTT: And I represent CitiMortgage, Inc.
BY MR. HARRIS:

Q And he's also an attorney. And Mr. Demetras
is an attorney, but Mr. Gieseke is not an attorney.

A Okay.

Q SO -~ and you're here pursuant to a notice of

taking deposition.

A Yes.
0 Do you see that document?
A Yes.

0 Okay. And then I believe my office called you

the other day, Norma --

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L, TOPOL 6
A Uh-huh.
Q ~- and asked if you were going to be here?

A Uh-huh. Yes.

9 Okay. And are you -- are you basically
retired and not working, or are you working part time,
full time, what?

A I'm retired.

Q Okay.

A Not working.

0 Okay. What was your last full-time employment
position?

A t was the office manager and escrow officer at
Stewart Title.

Q Okay. But let me -- have you ever had your
deposition or Rule 2004 Examination taken before?

A I think I've had a deposition taken, but it
Was years ago.

Q Okay. Do you understand the process, I ask
you questions, and you give me answers under oath and
under penalty of perjury?

A Yes.

0 If you don't understand something, I'll be
glad to rephrase or repeat the question,

A Okay.

Q T'm here just trying to get the facts with

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 7

 

 

regard to a certain dispute that I'll explain in a

little bit.
A Sure.
Q Is there any reason you cannot give truthful

and complete testimony at this time?
A No.
0 You're not under the influence of any drugs or

alcohol or anything?

A No.

Q Okay. Any medications that would prevent you
from --

A No.

0 Okay. Your last full-time employment position
before your retirement was at Stewart Title?

A Yes.

Q Okay. And what branch of Stewart Title did
you ~- were you the office manager of?

A The Douglas Boulevard in Roseville.
In Roseville?
Uh-huh.
And what county was that?

Placer County.

Oo FP OO -

Placer County.
How long did you work at that location for

Stewart Title?

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. FOPOL 8
A I worked for Stewart Title a total ~- a total

of almost 25 years in the Roseville area, three
different offices though. That one -- the last one was
‘probably a total of ten of those years out of the 25.

Q And the Roseville location?

A, ft was 3300 Douglas Boulevard, Suite 210.

Q Okay. By any chance did you know a Bill Hanks
in Reno? He worked at Stewart Title for many, many,

many years.

A Sounds familiar. I think he was in the title
department?
QO Yes.

A Yes. Yes. I think I talked to him on the
phone probably.

Q Okay. So in your position at the
Douglas Boulevard branch for ten years, you were the
office manager?

A Actually, for the full 25 years.

0 For the full 25 years?

A Uh-huh.

QO But only ten years were at the
Douglas Boulevard branch?

A We were actually at three different
Douglas Boulevard addresses over the 25 years.

Q Okay. So what were the three different

 

 

 

 

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REGINA K. GARLAND | November 25, 2014
NATHAN L. TOPOL g

 

addresses and the time periods?

A The first one was 3998 Douglas, and that would
have been from August of '86 -- and I would only be
guessing.

QO That's fine.

A I'm not sure. Probably six years later.

QO And then after, let's say, about '92 or '93?

A The second address was 2200 Douglas Boulevard.
I don't recall the suite number though on that.

Q 2200 Douglas Boulevard?

A Uh-huh.

QO And that would be from '92, '93, to when?

A Probably '95.

Q Okay. And then ~-

A And that was ten years at the last address,
the 3300.

QO '95 to '05?

A Uh-huh.

Q And then what year did you retire?

A '05, 2005 -- I'm sorry. 2010. I'm off on my
dates.

QO Okay. So you were at the last address,
3300 Douglas Boulevard, for about 15 years?
A Probably more like 12.

0 Twelve?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 10

 

A So I messed up a little bit there.
Q So you think you were at 2200 from "92, '93
to -~
A I'd probably add a few years to that so it
would make sense, and so it would come out to about 25
total. Yeah.
QO Okay. I don't want to put words in your
mouth.
Do you think -- so in 192, '93, commencing and
ending --
A Probably ‘95.
Q Okay. That's three or four years later.
And then '95 to 2010, that's 15 years.
A Okay. Now I am confused,
Okay.
I don't remember. I mean I remember when I
quit.
| Q Okay. Do you think you were at the 3300
location for --
A i know it was at least ten years.

Q Okay. So would that -- and you retired there

in 2010?
A ‘20. Yes,
Qo Okay.

A I said 2005. I'm sorry.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 11
@) Okay. So does that mean you probably -- the

He

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be

AS degree.

Q
A

Q

 

Stewart Title company moved to 3300, let's say, '39,
2000, 2001?

That makes sense.
Somewhere in those three years?
Yes.

Okay. And you were an office manager from day

one at this location?

I was either branch manager or office Manager,

right, senior escrow officer. All that.

Okay. So branch manager?

Uh-huh,

Senior escrow officer?

Yes.

What other --

And office manager.

Office manager.

And that was from '86 to 2010.

Okay. What is the extent of your education?

I basically had two years in college with an
That was it.

Where did you work before Stewart Title?

ft was at First American Title; and prior to

that, I was at Sunset Real Estate for seven years.

Sunset Real Estate? -

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 12
A Yes.
Q Were you a real estate --
A No.
Q ~~ broker?
A I was assistant to the broker. Had my real

Q

O Ff © &Y

A

in '86.

Q

A

to 13 --

 

estate license, but I wasn't practicing.

And at FATCO, First American -- you call it

FATCO, right?

Right. Yes. Yeah.

At PATCO, what was your position?
That was escrow assistant.

And then that was --

And then officer. That -- I believe I started

that in '80, 1980, and was there until I went to Stewart

Okay. Okay. What were your -- let's say

at -- when you were at the 3300 Douglas Boulevard
branch, how many employees did you have at that branch?

What was the range?

At 3300?
We, at one point, had upwards of 12 to 13.

Okay. When you retired in 2010, you had 12

No.

~- was thak --

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 13

 

 

A No. It was lesser then. It was probably

seven to eight.

Q Who took your place when you retired?

A Shelly Kimbrow.

OQ Kimbrow?

A K-i-m-b-r-o-w.

QO Is she still there?

A No.

O Do you know who took her place?

A No. I -- I reaily don't think they replaced

her in so many words. Yeah. No, they didn't replace
her.

Q Okay. What were your -- generally, what were
your duties as a branch manager, office manager, and
senior escrow manager?

A Makes it sound good, huh? The function of the
branch manager was just to oversee anything going on in
the office, to run the day-to-day part of the office,
have office meetings, you know, take care of -- oversaw
the acquisition of supplies and that sort of thing.

And then escrow, obviously, just doing the
actual escrows --~ I had my own escrow desk and helping
with any questions or anything anyone else had.

- Q You said escrow desk.

On refinancings, purchase sales of properties?

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 14

 

A Yes. Short sales. Yes. Everything.

Q Okay. So you oversaw the day-to-day
operations of the branch?

A Uh-huh.

Q Oversaw any acquisitions that -- by the
company to operate that branch?

A Uh~huh.

Q And you had your own escrow desk, as you said,
where you had your own files for closings?
Uh-huh. For closings.

Okay. Any other duties that you had?
I was an assistant secretary --
Okay.

~- with the company.

oOo Ff Oo Ff © f

For the Stewart --

A For Stewart, slash, Sierra Valley. Uh-huh.
Same company, just different names.

0 Okay. How long -- when did Sierra Valley
become Stewart Title?

A I don't have the exact date. It was while we
were in the 3300 Douglas, so it might have been -- I'd
have to guess.

Q That's --

A Maybe nine or ten years while I was there.

Q Okay. So sometime in the early 2000s?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 15

A Right.

Q Okay. Like 2000 to 2000 and --

A 2002 or '03.

QO Where it became Stewart Title?

A Uh-huh.

Q Okay.

A We were always owned by Stewart Title.

Q Oh, you were?

A We -~ right.

Q Okay. Do you know when you -- well, did you
go under the name of Stewart Valley -- or was it
Sierra Valley Title?

A When I first started in '86.

Q Okay. And then do you know when they changed
their name of business operations to Stewart Title
Company?

A That would have been when we were at
3300 Douglas. But, again, I'm not exactly sure of the
year.

Q Okay. On the escrows -- how many other escrow
officers worked with you?

A Majority of the time there were probably two
other escrow officers.

Q Okay. And the three of you handled all the

escrow transactions that came into the title company?

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 16

 

 

A Just to that branch.

° Okay. Did you -- did this branch also
issue -- or was -- were requests made of preliminary
title reports for this branch?

A Yes.

Q Okay. If you needed a preliminary title
report, did the actual branch do it, or did you farm it
out to another Stewart Title Company location?

A That's kind of a two-fold answer. When we
first moved into 3300, we also had part of the title
gepartment there, so they were issuing the prelims
there. But within a year or two that changed, and
everything was run through our Carmichael office, the
main office,

9 The title plant?

A Uh-huh.

QO And do you know about when that change took
place where everything was run out of the Carmichael
branch?

A it was within a year or so of moving in.

QO Moving into the 3300?

A To the 3300. Uh-huh.

0 And I think you said you moved into 3300
sometime in the late ‘90s early 2000s?

A Yes,

 

 

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REGINA K. GARLAND November 25, 20
NATHAN L. TOPOL

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Q Okay. As part of your escrow transactions,
what would cause you to open a file, a short sale as you
said?

A Uh-huh.

Q Parties wanting to do a buy-sale for a

particular property?

A Yes.

Q What else?

A Refinances.

Q Refinances.

A Or loans of any type.

Q Okay. What else?

A That would pretty much be it. Occasionally, I
would do a commercial building or construction -- we did
construction loans -- I did construction loans too, just

the escrow part.

Q Okay. You didn't handle any construction
control, disbursement?

A No. Huh-uh.

) Okay. Was there -- was it primarily

residential transactions were handled out of thie

office?

A Yes.

Q Okay. But there were some commercial
transactions?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 18
A Some. We actually had two commercial offices

at the time in Sacramento County that did the majority
of that. But every once in a while one of our clients
would be doing a commercial build or something so we did
it.

Q Okay. In Placer County?

A Yes.

Q Okay. So were all of your transactions that
you handied the escrows for, were they all based out of
Placer County?

A The majority of them, but not all of them.

Q Okay. Some would be in other counties?

A Some would be Sacramento County, and then
refinances, especially, seem to be Outside counties.

Q Okay. So did you also handle requests for
reconveyances and reconveyances in your role as an

escrow officer?

A in my role as assistant secretary.

Q Assistant secretary?

A Uh-huh.

QO Okay. And how would your role as assistant

secretary cause you to be involved in a reconveyance of
a deed of trust?
A We would be ~- the documents would be either

sent to us from another office, mailed to us from

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 19

 

another title company, or in-house from an escrow and so
the documents would have been surrendered to us, the
note, the deed of trust, the request for the
reconveyance fully signed and properly signed before we
would issue a reconveyance. And then it would go back
out for recording in the appropriate county.

Q Okay. And I think you've seen this document

before. I'll give you what's --

A No, I haven't. Not since --
Oh.
A -- not since it started.
Q Well, I'll show you what's Exhibit 1.
A Okay.

(Exhibit 1 was marked for identification
and attached hereto.)

BY MR. HARRIS:

0 First off, let me ask you: Do you recognize
the type of document that is?

A Yes, I do.

QO Okay. And what is it?

A it's a full reconveyance.

0 Okay. And, generally, what does a full
reconveyance do?

A It states that the loan in this book and

pager ~- actually, the serial number in this case was

 

 

 

 

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NATHAN L. TOPOL 20

 

 

paid in full.

Q Okay. Do you recognize any part of this
document ?

A Well, that looks like my signature, but I
couldn't tell you if I signed it or not. But thatis
kind of what it looked like back then. And I recognize
the notary.

Q And who is the notary?

A Cari Lemos.

Q Did she work in your office?

A Yes. She was an assistant of mine.
Q And I take it she was a notary?

A Yes. Oh, yeah. Stamp and all. Yes.
Q Were you also a notary?

A Yes.

Q Okay. But, of course, you. can't notarize your
OWN Signatures? |

A No. No.

QO In an escrow company such as what you worked
in, if Cari Lemos notarized your signature would she
keep track of that in a notary book, or was there some
sort of other rule that you had of keeping track of
notaries?

A No. Normal practice would have been just a

dine item in her notary book.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 21
Q Okay. And this line item in her notary book,

would you

PO fF oO Ff O fr OO Fr OD

that,
QO

Fr Oo Ff O FY

number?

A

Q

 

in her book?

-- what would that line item say?
It could have the escrow number.
Uh-huh,

It doesn't always.

Uh-huh.

And then I would sign it.

Would she describe the document?
Usually, yes.

Okay. I'm talking just in --

lt was standard practice --

-- just in general?

In general, yes, it would be good, yes, to do

Okay. So she would -- would she have the date

Uh-huh.

Okay. And she would have --
The date and the document.
The document number?

Uh-huh.

Okay. The type of document or the document

The type of document.
Okay.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 22
A Because when she's notarizing, it's not

recorded yet.
Q Right.

So she would have the date, the type of

document ?
A Uh-huh.
She would have written your name?
A Yes.
0 Okay. Would you then sign that, her book?
A Yes.

Q Okay. Would you generally do this for all the
transactions that you asked her to notarize your
signature for?

A It would be normal practice, yes.

To have her sign her notary book --

A Uh-huh.

Q -~ for a signature --

A Right,

Q -- that you wanted her to notarize?

A Yes.

Q Do you know if Cari Lemos is still located at

the 3300 Boulevard ~-
A She is not.
0 Okay. Do you know where she is?

A I believe she's working somewhere in Nevada

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 23
County.

Q Okay. Do you know what title company?

A Last I knew I think it was Placer Title, but
not sure.

QO And don't the notaries maintain their own
notary book?

A As a rule of thumb I -- the ones with —
Stewart Title did. But when you relinquish your notary
or it expires, you're supposed to actually turn those
over to the county that you're a notary in. But Placer
County won't take our books, so most of us try to keep
them -- or the company keeps them in storage. It just
depends on what the escrow officer or notary did.

Q Okay. But do they -- as long as they're an
active notary, do they normally keep all of their books
that they've accumulated or --

A Yes.

o And you think she's located at the Nevada City
office of Placer Title?

A I don't know if it's Nevada City. TI think
it's Nevada County, but Placer Title.

9 For Placer Title Company?

A I believe so.
Q Okay.
A

Last time I talked to her, that's where she

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 24
was.

Q How long ago did you talk to her about it?
A Sometime last year.
Q Okay. Do you think she still goes under the

name Lemos?

A No. She is now -- the last name is Gallino,
G-a-l --

Q G-a ~-

A -- ]-1 --

Q -- ]-l] --

A -~ 1-n-o,

Qo G-a-1l-l-i-n-o?

A Right.

Q And it's still Cari ~-- C-a-r-i?

A Yes.

Q All right. What else -- first off, this
document, what's it entitled?

A Full reconveyance.

Qo Okay. And you said you do or do not recognize
your signature there?

A It looks like it could be mine, but TI don't
remember signing. I mean that was a tong time ago.

Q Okay.

A But it's not unusual-looking for how my

signature looked then, so --

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 25

 

 

0 Okay. What date does this document say that
you signed this full reconveyance?

A January 6th, 2004.

Q And it was notarized by?

A Cari Lemos.

Q Okay. And it appears that she still had an
active notary on January 6th, 2004?

A Yes. Her's was -- the stamp says it was good
through June 8th of -- or June -- I can't tell if that's
an 8 or a 6, 2004.

Q Okay. How long have you known Cari Lemos at

the time of this notary on January 6th of 2004?

A I'm just guessing maybe five or six years at
that time.
Q Okay. Was it -- was that entire five or six

years at the 3300 Douglas office?

A Yes.

Q Who would have -- is this a form, a full
reconveyance for Sierra Valley Title Company?

A Is it a form?

Yes. Uh-huh.

Q Okay. The fact that it says, Sierra Valley
Title Company on this full reconveyance, does that mean
that Stewart Title Company had not renamed Sierra Vailey

to Stewart Title Company yet?

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 26
A No. Not necessarily. That means that because

we're listed as the trustee under the deed of trust --

Q Uh-huh.

A -- we use that same name because it's what's
on the deed of trust that recorded.

Q Okay.

A And we're still -- we're -- Sierra Valley
Title and Stewart Title of Sacramento is one in the same
company.

Q All right. Let's have these deeds of trust
marked as the next --

A Can I look at a copy of the deed of trust?

QO Well, let's let him --

A Okay. On, yeah.

MR. HARRIS: Make this 2.

THE REPORTER: Okay.

(Exhibit 2 was marked for identification
and attached hereto.}
BY MR. HARRIS:
QO And then you'll see why we're all here.
A Yeah. I see. I think I know.
I have a question.
Q Yes.
A What I wanted to see on here wag who the

trustee is listed as. And, of course, because it's

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 27
Citibank, Citibank is the trustee -- or CitiMortgage.

Q Right. So you're looking at Exhibit 2, the
deed of trust.

A Right. On the first page, Item D, as in
David --

QO Right.

A Okay. So if Citibank was the trustee, there
would have been a substitution of trustee also that
recorded prior to this, but I haven't seen that.

Q We haven't either.

A Is that the question? Oh, that's the
question. Okay.

Q Well, let me ask you this --

A Uh-huh.
Q What was the process, in general, for -- let
me ask -- you were in charge of executing full

reconveyances for this office?

A Uh-huh.

Q Okay. Was there anybody else during, let's
Say, the middle 2000s, like '03, '04, ‘05 that would
also execute full reconveyances at your office?

A Our county manager could have. I don't know
1£ he did or not.

QO But he was outside your office, the county

manager?

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 28
A No. He was in our office.
Qo He was?
A Uh-huh.
QO Okay. Who was the county manager?
A Clark Davenport.
Q Okay. And Clark Davenport was -- what do you
meen a county manager?
A He oversees all the offices in the
county for --
Q For Sierra Valley, slash --
A -- for Placer County.
QO For Sierra Valley Title, slash, Stewart Title?
A Yes.
Q Okay. And you said there were two other

A

Q

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County.

Placer County offices in addition to yours?

There was -- at the time I left there were two

other Roseville offices and one Auburn office in Placer

Okay. Doesn't Placer County go up to

Lake Tahoe?

It does.
Okay. Were there any offices up there?
No. Auburn was the highest one.

Okay. So you see a full reconveyance in front

of you which is Exhibit 1.

 

 

 

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NATHAN L. TOPOL 29
A Uh-huh.

Q And who -- you're -- normaily, the full
reconveyances start out as a form without some of the
spaces filled in?

A Absolutely.

Q Okay. For instance, f assume in the form -- I
assume in the upper left-hand corner when it says, When
recorded mail to, that would be blank?

A Yes.

0 Okay. And I assume there wouldn't he any
recording information in the upper right-hand corner?

A Correct.

Q Because it's not recorded yet. We're just
talking about a blank form.

A Uh-huh.

Q What else would be blank on this form?

A There would be no escrow number nor title

number filled in alongside of the words full

reconveyance --
Q Right.
A ~~ Or return address for mailing. And there

would not be the borrower's name nor --
Q Okay. And then the trustor --
A -- nor the recorded date, as in the body, nor

the serial number.

 

 

 

 

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NATHAN L. TOPOL 30

 

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Q All right. Anything else?

A And then the signature line and notary
information.
Q Okay. So if you received a full reconveyance

blank form and you were going to cause a full

Yeconveyance to be signed and recorded --

A Uh-huh.
Q -- who would fill in these blanks?
A It could vary. In this case the escrow number

was also one in my office. So what would normally
happen is that escrow officer handling that escrow would
gather the documents that say the loan has been paid in
full and give those to myself or my assistant.
Q Okay.
A And I usually got things in stacks, so there's
more than one.
Q From this escrow number, and it's escrow
No. DG-54506527-NM.
Do you know which escrow officer that is?
A Nicole Miller.
Okay. And Nicole Miller.
Do you know where she is now?
A Douglas branch. I think Norma's talked to
her,

Q Nicole Miller?

 

 

 

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NATHAN L. TOPOL 31

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A Uh-huh. Either she talked to Nicole Miller or
Debbie Shefke.

QO Debbie Shefke?

A Uh-huh. They're on the same desk. They're
both escrow officers.

Q And by Norma, you mean Norma from -- my
paralegal from my office?

A Yes.

Q Okay. I just wanted Chris to know that.

A I'm sorry.

MR. MCDERMOTT: Oh, no. Thank you. I appreciate
that.

THE WITNESS: If I need keep my answers shorter,
tell me. I'm sorry.
BY MR. HARRIS:

QO You're doing fine.

A Okay.

Nicole Miller.
This was -- you say was her escrow?

A Yes.

Q Okay. Do you have any way of telling what
Kind of escrow it was from the escrow number?

A No.

Q Okay. Do you have any other clues in looking

at this full reconveyance as to what kind of escrow it

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 32

 

would be, looking at the full reconveyance for the deed
of trust?

A No. No, I don't.

Q So by this being Nicole Miller's escrow as
indicated by the escrow number --

A Uh-huh,

Q ~~ and we have nothing else to go on except
this number on the escrow and her initials that it was
her escrow?

A Yes.

QO Okay. We can't tell what kind of eserow it

A No.

Q S50 would you have any other involvement with
this full reconveyance or this escrow other than signing
the full reconveyance and causing it to be recorded?

A Once I had the proper documents that says it's
been paid off and can be reconveyed, no, that would he
it.

Q Okay. What would you normally require as an
assistant secretary signing off on a full
reconveyance ~- would you normally require to look at
and review before you signed off?

A The original note, either the original deed of

trust of -- which we're not going to have. I'm sorry.

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 33

 

 

We get a certified copy of that from the county, the
deed of trust, the original note, and a request for
reconveyance signed by the beneficiary.

And in this case, there would have been a
substitution of trustee if we were the ones issuing the
reconveyance.

Qo So you would ask for a certified copy of the
deed of trust from the recorder's office?

A Right.

Q Who would ask for that?

A Actually, we -- I'm sorry. Let me back up.
We'd probably have that in their file.

Q A certified --

A Because when the title search does the search
of the property, they're going to pull up a copy of
that, so we usually request a copy at that time.

0 50 would there be a prelim that would --

A Yes.

Q ~~ be part of this?

A Uh-huh. On the property that's -~ that the
loan is on. Yes.

Qo So normally when you're asked to sign a
reconveyance as an assistant secretary, you would have a
certified copy of the deed of trust or a prelim from

your title plant?

 

 

 

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NATHAN L. TOPOL 34
A t wouldn't necessarily have a copy of the

prelim. It would depend on if I had any questions on
anything -~ if something looked out of place to me.

0 Would you have a copy of the deed of trust?

A Yes.

Q Okay. But you wouldn't have the original?

A No. Because the original would have gone back
to the lender and that would have been in their hands,

unless they were the ones who sent it to us for

reconveyance.
Q Okay. And you would have the original note?
A Yes.

Q Would you -- what if you didn't have the
original note? Would you still under some circumstances
execute a full reconveyance as an assistant --

A I wouldn't. No.

0 -- secretary?

A I would not. Huh-uh. |

0 Okay. So you had the original note?

A I can only assume that we had it. That would
be normal.

QO So, well, we're just assuming that you had
certain things.

A Uh-huh,

0 And that would be some sort of evidence of the

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L, TOPOL 35

 

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deed of trust that was recorded?

A Yes.

Q We're going to assume that you had the
Original note. We're assuming that you had -- and I'm
not trying to put words in your mouth --

A No. I know.

QO -- a substitution of trustee. Okay.

A That would have been needed, the substitution
of trustee.

0 Okay. And then the substitution would have
substituted the original trustee, which is who?

A Citibank.

Q Okay. And how do you know the original
trustee was Citibank?

A ftem D on the first page of the deed of trust.

QO And it says -- what's the name of the trustee?

A The trustee is Citibank Service Corp., a
California corporation.

Q Okay. And then also on this deed of trust,
Exhibit 2, it says, Recordation requested by, and do you
see who's requesting that?

A Sierra Valley. Uh-huh.

Q Oh. That's above --

A At the top.
Q

Below it also --

 

 

 

 

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NATHAN L, TOPOL 36

 

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A Yes. Uh-huh.

Q On this deed of trust, the one thatis
Exhibit 2 --

A Yes,

o ~- it says, Above recordation requested by
Sierra Valley, and there's an escrow number there?

A Yes.

Q And is that the same escrow number as
appearing on the full reconveyance?

A Yes.

Q Why are they the same?

A You use the -- the ~~ you start kind of
backwards with the NM, the initials, and then the six
digit number --

Q Uh-huh.

A -~ and then the escrow numbers. The other
digits just identify which branch it is ig all.

Q Okay. So what is the date of the deed of
trust that -- when it was recorded?

A It recorded in 2002, October i6th, 2002.

Q Okay. So at the time of this recordation of
the deed of trust, October 16th of 2002, this
Sierra Valley No. 32-506527-NM had been written on it?

A Yes.

Q Okay. And then when the full reconveyance was

 

 

 

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REGINA K. GARLAND November 25, 2074
NATHAN L. TOPOL 37
filled out -- and you said one of the escrow numbers is

normally typed in the form?

A Yes.

Q Okay. Why would they type in the same number?

A The 506 -- because when we received
documentation for the full reconveyance, in order to do
the full reconveyance, it would go back through the
original escrow that the loan was put on -- in.

Does that make sense?

Q You would -- you would use the original escrow

on the deed of trust?

A Right. Right.

Q For the full reconveyance escrow number?

A For the reconveyance, yes.

0 Okay.

A Because all of those documents would then go

together into the file.

0 Okay. On the deed of trust in the upper

left-hand -- you want to -- it says, When recorded mail
co?

A Yes.

Q Do you want to just read out loud the name of

where it was mailed te and the address?
A Certainly. Citibank FSB, in care of

CitiMortgage, Inc., Post Office Box 9206, MS 81026,

 

 

  

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 38

 

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Parmington Hillis, MI 48333-9206.

0 Great. That's all I need,

And then below that it says, Send tax notices
to, and I think it's a different address?

A Citibank in Saint Louis. Yes,

Q Okay. When this deed of trust was recorded on
October 16th, 2002, in Placer County Recorder's Office,
who would mail -- I take it the original is recorded?

A The original is recorded and mailed directly
to Citibank.

~Q Who mails the original to Citibank?

A The county.

Q Okay. Do you know if the county keeps any
records of sending out these original documents?

A i don't believe they do, but I'm not sure.

Q Okay. You don't know if they have a tracking
system or a little book like a notary?

A I doubt it. I doubt it.

Qo Okay. But you know for a fact that it's the
county's obligation to send out the original documents
as requested on the recorded document?

A Yes. Yes.

Q Okay. And, again, you said Nicole Miller more
than likely filled in these blanks in the full

teconveyance because it was -- she was -- it was her

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 39
escrow?
A tt -- not necessarily though. She may have

given us the documents to substantiate doing the full
reconveyance, and then we filled it in, my assistant or
T. It just depends.

Q Okay. It could have been you, it could have
been your assistant?

A tt could have been. Or it could have been in
her file, which that was not uncommon for them to do.

Qo Okay. And then the trustor.

Do you want to read who the trustor is on the

full reconveyance?

A Nathan L. Topol, a married man as his sole and
separate property.

Q Okay. And then do you want to read who the
Crustor is on the deed of trust?

A Nathan L. Topol, a married man as his sole and
separate property.

Q And that's under Subparagraph B --

A B, as in boy, yes.

0 ~- the first page?

Okay. And then it says, Trustor and

recorded -- it's now mentioning the original deed of
trust, which is Exhibit 2?

A Yes.

 

 

 

 

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NATHAN L. TOPOL 40

 

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Q Okay. And it says, And recorded -- what date
does it say the -- in the full reconveyance that the
deed of trust was recorded on?

A It says December 16th, when, in fact, it's
October 16th. That's a typo.

o Okay.
A 2002. It does reference the correct serial
number, so that would supersede the wrong month -- the

incorrect month that's on there.
Q Okay. Why do you say it would supersede the
incorrect --

A That's just normally how the county would

handle it.
Q The county or the recorder's office?
A The recorder's office.
Q So when you say the county, you mean the

recorder's office?

A Yes.

Q And do the serial numbers on the full
reconveyance match up with the serial numbers on the
recorded deed of trust?

A Yes.

Q And do you want to recite those real --

A Certainly. 0125157.
Q

Okay. And then what other information was

 

 

 

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NATHAN L. TOPOL Af

 

filled in on the form, full reconveyance?

A The borrow's name, but we talked about that.
Other than that it would have -- the rest of it would
have been under the serial humber, and the recording
date would have been preprinted information. I'm Sorry.
Let me back up on that. Placer, the word "Placer," for
Placer County.

Q That would have been typed in?

A It could have been. It looks like it's not

here though. It looks like it's part of the original

printing.
Qo Okay.
A I know at one time we were typing in the

county, but
Q How about in the last paragraph, the two
lines, it says, Assistant secretary.
Was that part of the form, assistant
secretary?
A Yes, it is.

Q Okay. And on the notary, I think they call it

a jurat --
A Yes.
Q ~~ in the lower left-hand corner?
A Uh-huh.
Q Who would have filled out the information

 

 

 

 

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there, such as Placer, the date, the notary name?

A The notary.

Q And that would be Cari Lemos --

A Yes.

Q ~~ at that time?

A Uh-huh.

Q Okay. And so she's -- has Cari written in
Placer?

A Ifim sorry?

0 Is that -- do you think -- do you believe that
Carl Lemos has written in all of the handwritten
information that's in the lower left-hand corner of this
full reconveyance?

A In the notary jurat, yes.

Q Okay. Okay. On your signature, Kay, do
you ~~ did you normally sign your full first name, your
middle name, and your last name?

A Yes.

QO Did you sign it in any other manner when you

signed title company documents that you recall?

A Under the title of assistant secretary?
Q Right.
A fo don't -- I wouldn't sign any other

documents. But, no, it should be that way.

o Was a full reconveyance the only document that

 

 

 

 

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you would sign as an assistant secretary?

A Yes.

QO You don't recall any other types of documents?

A No. No.

Q Generally, is -- how many full reconveyances
would you sign as an assistant secretary, let's say, per
month?

A That's hard to say. I mean it could be none,
or it could be 20. It just depends.

Q Did you have any kind of book that you would
keep track of the full reconveyances that you executed
as an assistant secretary?

A No.

Q Would the only -- would there have been a file
more than likely given to you for this transaction chat
you would review for its contents before signing this
Full reconveyance?

A No, just the documents needed for the
reconveyance.

Q Would they be in some kind of file folder?

A Not always.

0 What would you do with the documents, in
general, after you signed a full -- after you reviewed
ali the documents and signed as an assistant secretary

in a full reconveyance, what would you normally then do

 

 

 

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with the documents?

A If they were documents in-house, they would go
either to the file that was filed with us, or the file
would have been pulled from our storage and put into the
original file.

If they were documents that came in from
another title company that actually did the escrow that
paid off the loans or the deeds of trust, then those
would go out by certified mail to that title company.

Q Okay. Is there any way of finding out,
ascertaining from this full reconveyance, if this was

from a another title couple or from your --

A No. It was an in-house and in Placer County
because it was -- Nicole Miller was an escrow officer in
my office.

Q Okay. So if there were documents that had to
be sort of refiled after your review --

A Uh-huh.

Q -- they would not have gone outside of

Sierra Valley, slash, Stewart Title Company?

A No.
0 They would have stayed in-house somewhere?
A In-house, exactly. Either our branch there or

storage, which would go through the main office.

Q Okay. So if they were kept at the branch, do

 

 

 

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you know how long the documents would be kept at the
branch, the 3300 Douglas?

A it was just a matter of how many files we had
and how many ~~ at any given time, so it -- we had a
very small storage area. There was no way to really
tell.

Q Okay. What would the process be for taking it
out of storage at the branch and storing it --~ well,
where else would it be stored?

A Our company had, I think -~ I believe it was
Iron Mountain at that time that they were using for
storage. And it would go through our courier system,
which was a person, would take the document -- or the --
t’m sorry -- would take the file, our files, to our main

office in Carmichael to the title department. And then

they would -- they monitored the actual Iron Mountain
transactions.
QO Would it be stored in Carmichael, or would it

then be dispatched to Iron Mountain?

A It would then be sent to Iron Mountain.

Q Okay. And then do you know what the policy
was for how long these records would be maintained at
Iron Mountain?

A I believe the legal answer to that is seven

years, and I know that we probably kept them longer than

 

 

 

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NATHAN L. TOPOL 46
that. I'm not -- because I know T was able to get, you

know, get files back from Iron Mountain that were older
than that for a while. But right before I left, they
were shredding documents that were really old.

Q How do you know that?

A We were ali given shred bins. And then in a
conversation I had with one of the gentlemen that -- at
the title department that were in charge -- that was in
charge of the files going to Iron Mountain and keeping
track of those and that sort of thing, he was telling me
about them -- they were shredding already.

Q Would they ask your permission to shred
anythina?

A No. Huh-uh.. No.

OQ Okay. What are shred bins?

A Oh. It was like a big garbage can with a
docked lid on it with just a little slit in it where you
can put documents in, file folders and that sort of
thing.

Q But wouldn't those just be at the various
branch offices?

A Right. But then they're picked up by a
shredding company.

Q Right.

A That shreds them for us. But, yes,

 

 

 

 

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NATHAN L. TOPOL 47

 

Q Would you have placed these CitiMortgage Topol
documents into a shred bin after you were through with
them?

A No. Well, not from when I was there because
that was still within the seven-year time frame.

Q Okay.

A And what we would normally do is our files
would go, we would box them up, write down a record of
them. They would go to the main office in Carmichael.
And they would then put them, because I think they
actually had a different -- another place besides Iron
Mountain because we had so many files there.

Q So you think they had another facility besides
Iron Mountain?

A They did as far as I know, but I don't know --
I don't remember what that was.

Q Okay. But you have no reason to believe --
but your normal course -- excuse me -- your normal
procedure after reviewing documents instant to you
executing a full reconveyance as an assistant secretary
was, if they were in-house, is to return them to the
file?

A Yes.

0 Okay. Would you do that, or your assistant

would do that, or you would -- how did you do it?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 48
A Either we did that, my assistant or myself, or

the escrow officer whose file it was would do that.

Q Okay. That had the file?

A Right .

QO Okay. And then would the escrow officer then
dispatch that file to Carmichael and they would then put
it with Iron Mountain or some other storage facility?

A If it was old enough -- if was there was no
room in the backroom. Let's put it that way. Because
our storage in the back in that particular office was
limited.

o Okay. And, again, your normal procedure for
executing a full reconveyance was to have some evidence

of a recorded deed of trust?

A Yes.

Q The original note?

A Yes,

0 A substitution of trustee?

A When it applies, right.

QO When it applies?

A Yes.

0 I assume that if --~

A in this case, it should have applied, yes.

Q Right. But if Sierra Valley had been on a

deed of trust, then you wouldn't have worried about

 

 

 

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NATHAN L. TOPOL 49
that --
A Right.

And then a request for reconveyance?

A Yes. Signed by the beneficiary.

Q In this case it would have been --

A CitiMortgage.

Q ~~ CitiMortgage?

A Yes.

o Okay. On the full reconveyance document on

Exhibit No. 1 --

A Yes.

Q ~- on the upper left-hand corner it says,
Recording requested by Sierra Valley Title Company and
when recorded mail to -- now, who is -- who would have
Filled in that information in the upper left-hand
corner?

A The recording requested by Sierra Valley
Title, that's just a stamp that the county has.

0 Right.

But below that?
A Oh, below that?
it would have been typed in by whoever
prepared the full reconveyance.
Q Someone in your office?

A Uh-huh.

 

 

 

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NATHAN L. TOPOL 50
Q Okay.

A At that point, yes.

Q Okay. And do you want to read that name and
address as to where it's mailed to after being recorded?

A Certainly. Citibank FSB, in care of
CitiMortgage, Inc., Post Office Box $206, MS 81026,
Parmington Hills, MI 48333-9206.

QO And is that the same name and address on the
full reconveyance that appears on the deed of trust in
the upper left-hand corner for, When recorded mail to?

A Yes.

0 Okay. On the full reconveyance upper -- sort
of upper right, it says, Title order No. 506527?

A Yes.

0 That seems to have six -- the same numbers in
the escrow number?

A If the property is in Placer County, it would
have the same number as our escrow number, which are
the -- just the five -- the six digits before the
initials.

Q The 506527?

A Uh-huh.

QO Okay. And the -- on the escrow number, what's
the DG stand for?

A Douglas, because it wags Douglas Boulevard.

 

 

 

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NATHAN L. TOPOL 51

 

Q Okay. And the 54 stands for?
Our actual office address, 3300 Douglas.

And you give that a designation of 54?

PO YF

Yes. The company did.

Oo Okay. And then the escrow number would be
the 506527?

A Yes.

Q And then the NM, of course, is Nicole Miller
in this case?

A Yes.

Q Anything else in this document -- except for
the top up here, this top case number, that's bankruptcy
related. [I'll tell you that now.

A Yes. Okay.

Q is there anything else in this document that
is -- that you want to remark about or is -- causes you

to recollect anything at the time you --

A Neo.
0 -~ supposedly signed this?
A No.

0 Do you know who Nathan Topol is,

Nathan L. Topol?

A No.
Q Have you ever heard this name before today?
A Norma.

 

 

 

 

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NATHAN L. TOPOL

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Oh, Norma.
Again, my paralegal?

That was the first time.

tf assume you have never met Nathan Topol?

No.

Have you ever met a Topol family member?

Not that I'm aware of, no.
Ever met a Steve Topol?
No.

Peter Topol?

No.

Judy Topol?

No.

How about Byron Topol?
No.

Samantha Topol?

No.

B.Jd. Topol?

No.

David Topol?

Big family.

No.

Tamara Topol, or Tammy Topol?

No.

Virginia Topol?

 

 

 

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NATHAN L. TOPOL 53
A No.

MR. HARRIS: Let's take a couple-minute break. I
just want to talk to the trustee.
(Brief recess taken.)

BY MR. HARRIS:

Q Kay?
A Yes.
Q You -- in your procedures you have a fully

filled out full reconveyance awaiting your signature in
general, and you've said that some of the things, some
of the documents -- the documents that you required
before you sign in front of a notary as assistant
secretary of the title company is you stated that one of
the things you would check is a request for
reconveyance?

A Yes.

Q Okay. And who -- would this be an executed
request for reconveyance?

A Yes, by the beneficiary.

Q And that would be, in this cage, by
CitiMortgage?

A Yes.

Q Citibank?

A Citibank. Yes.

Q

Would there be any circumstance -- let's say

 

 

 

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NATHAN L. TOPOL 54

 

you had everything else but you didnit have a request
for reconveyance duly -- would it be signed by a notary
or not by a notary?

A Not by a notary.

QO Okay. So let's say would there be any
circumstance that you would execute a full reconveyance,
in general, in general, without an executed request for
reconveyance in front of you?

A No.

Q And then another thing you said you needed to
have in front of you before you signed as an assistant
secretary of the title company on a full reconveyance is
that you would require, if applicable, a substitution of
trustee duly executed?

A Yes.

0 Okay. And this would be in the event that the
deed of trust did not -- the trustee on the deed of

trust did not match the request for reconveyance --

A No.
Q ~~ beneficiary?
A No. If it was being sent to us for -- to

reconvey, we're not able to reconvey unless we're
substituted in --
0 Okay.

A ~- because Citibank is the trustee,

 

 

 

 

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NATHAN L. TOPOL 55
Q Okay. So in the request for reconveyance,

would the beneficiary be signing that?

A Yes.

Q Okay. And if the beneficiary was also the
trustee, what -- they would -- and they wanted the title
company to sign the reconveyance, full reconveyance,
they would do a substitution of trustee?

A Yes.

o Okay. On a substitution of trustee, would
that be notarized?

A Yes.

Q Okay. So in an instance where you received a
request to sign a full reconveyance by the title company
and it did not match the deed of trust, 1f you didn't

get a substitution of trustee your normal procedure

would -- not to sign a full reconveyance ~--
A Exactly.
Q -- and ask more questions?
A Yes.

QO Okay. And then what if you didn't have --
what if you had everything else -- what if you have
everything but the original note, let's say you had a
duly signed request for reconveyance, a duly signed
substitution of trustee, hypothetically?

A Uh-huh.

 

 

 

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- NATHAN L. TOPOL 56

 

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Q And evidence of the deed of trust but you
didn't have the original note, would you, in general,
sign a full reconveyance?

A No.

Q Would there be instances that you would be
provided the original note at a later point in time
after recordation?

A We wouldn't accept it. We wouldn't record it
without that.

Q Without the original note in your possession?

A Absolutely. Uh-huh.

0 Would there be any instances that you would
record a full reconveyance without the presence of an

original note?

A No.
QO What -- has there ever been an instance where
the beneficiary in your experience -- in general, was

there ever an instance where the beneficiary wanted to
take the deed of trust off, at least the deed of trust
in the record, but still have the note in effect?

A Not that I'm -- not that I remember or am
aware of,

QO Okay. Are there any other documents that you
would want from a beneficiary or a lender before you

executed a full reconveyance other than the original

 

 

 

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note, executed substitution of trustee, if applicable,
executed request for reconveyance, and some evidence of
a deed of trust?

A No. Huh-uh.

Q You wouldn't necessarily require the original
deed of trust?

A No. Because that would be of record. We
could get a recorded copy --

QO Okay.

A ~~ if we didn't have one in our file. And if
we have a base file, there would have been a copy of it
in there that we could affix the recording information
on.

o Would there be any -- and, again, in your
review of the file records before signing the full
reconveyances aS an assistant secretary, would you ever
receive a letter of instructions from the beneficiary or
a lender?

A We might have received a letter from a lender,
but it would have been kind of a rare occurrence. I --~
i varely, if ever, sign reconveyances for full
beneficiaries, landers.

Usually we would get their full -- normally,
on a lender like Citibank, or, say, Chase Mortgage or

whatever, once that loan is paid in full, they would

 

 

 

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NATHAN L. TOPOL. 58

 

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send us the document, full reconveyance, to record as
opposed to having us prepare one.

0 Okay. Would they also send you the original
note?

A No. Not in that case. They don't have to at
that point.

Q What do you mean?

A Weil, if they're sending us this, we're just

recording this for them.

Q This, being the full reconveyance?

A The full reconveyance. I'm sorry. Yes.
Q Okay.

A Yeah.

QO So if they had signed the full reconveyance
and just asked you to record it, you wouldn't go through
any real examination?

A No. Because they're the trustee stating that
it's been paid on this document so we wouldn't need --
in the full reconveyance document we wouldn't need
anything other than the letter of instruction.

Q Okay. So assuming -- back to the instance
where there was a substitution of trustee, you would
require the original note?

A Yes.

0 Okay. Would there -- when you have the

 

 

 

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NATHAN L. TOPOL 59

 

original note in front of you, would you require any
kind of notations on the note by the lender?

A No. The full reconveyance --~ the lender
would -- on the deed of trust there is -- I'm SOYrTy.
t'm bouncing around. There is normally a place on the
deed of trust that has a page that says, Request for
full reconveyance. And I don't see it here. So that
could be something that I remembered.

ff not, there's a form that we provide to them

for them to sign requesting the full reconveyance for
us. That would be the only notation we would need along
with the original note.

Q And, again, it's the request for full
reconveyance, right?

A Would be signed by the existing beneficiary --

Q Right.

A -- whether it be an individual or
institutional.

0 Okay. Just one second.

A Uh-huh.

0 On a substitution of trustee document, which
in the instance of Exhibit 1 you would -- you just

stated you would need because you weren't the trustee
under the original deed of trust?

A Right .

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL . 60

 

Q Okay. Would you -- would you -- would the
title company, your office, normaily have recorded the
substitution of trustee, or would it have been
previously recorded?

A tt could have been either way.

QO Have you ever heard of instances in your
tenure at the title company where other recorder's
offices misrecorded something?

A Certainly.

Q How do they go about locating a misrecorded
document?

A They usually don't.

QD Ttis lost?

A Uh-huh. Yes.

Q Do you know if there's any way that the
recorder's office can go through, like, let's say, a
particular date, time span, let's Say, a December ‘03
through January of '04 and search all the documents that
were recorded just in that time frame? |

A Certainly. I think -- I believe they do. I
haven't seen it. But I'm sure they have some system for
that.

MR. HARRIS: I don't have any other questions at
this time.

But do you have some, Chris?

 

 

 

 

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NATHAN L, TOPOL 64

 

 

MR. McDERMOTT: I do.

MR. HARRIS: Okay. Do you mind if I maybe reserve
the right to ask questions after you're through, and if
you want to ask more after I'm through, you can?

MR. MCDERMOTT: Sure. Yeah. No problem.

MR. HARRIS: Is that okay?

MR. DEMETRAS: Yeah. That's fine.

MR. HARRIS: I'm fine for now.

Do you want to go -- who wants to go next?

MR. MCDERMOTT: I can go.

EXAMINATION
BY MR. McDERMOTT:
QO As Mr. Harris said earlier, I'm
Chris McDermott. We represent -- I represent

CitiMortgage. I'll do my best not to be too duplicative
of a lot of Mr. Harris' questions. Mine might be
slightly different, but I'm just -- so if I ask
something that it sounds like you've already answered
it's just because I'm trying to get really clear what
the situation is.

A Okay.

O SO you indicated that Stewart Title -- Stewart
Title owned Sierra Valley, and at one point

Sierra Valley started -- the name -- there was no longer

 

 

 

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NATHAN L. TOPOL 62
documents in the name of Sierra Valley after -- at some

point in 2002 or 2003, they were all in the name of
Stewart Title?

A Yes.

QO SO Stewart Title would be like the parent
company of Sierra Valley?

A Exactly.

Q Okay. How, generally, would -- so if I refer
to -- going forward I'll just refer to it as Stewart
Title, but I might -- I'll use them kind of
synonymously.

How, generally, would Stewart Title receive a
request for reconveyance? Would it usually be through
the escrow process?

A Yes.

Q Would Stewart Title receive a request for a

reconveyance if it didn't handle the escrow for the loan

transaction?

A Not if we weren't the trustee on the deed of
trust. |

Q Okay.

A Usually if their first transaction was handled
by Stewart --

QO So 1£ Stewart Title didn't handle the escrow,

would it receive a request -- were there cases where it

 

 

 

 

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NATHAN L, TOPOL 63

 

would receive a request to process a reconveyance?

A We'd only receive a request if Stewart or
Sierra Valley were the trustees.

Q Okay.

A So normally we would have had to have handled
an escrow, prepared the actual document, note and deed

of trust and that sort of thing.

Q So --
A It's unusual for an institutional lender.
Q Okay. And I know you've commented earlier

maybe on how often you would do this.
But how often would Stewart Title receive
requests for lien reconveyances?

A It's really hard to say because I don't -- we
had 14 offices. I don't know how many they would get.
There's no exact, you know, we get two on Tuesdays or
that sort of thing. I mean it could be we could get
some in the mail, it could come from other offices.

Q Okay.

A There's all kinds of avenues of receiving it,
so there's no way for me to even say how many we get.

0 Okay. How common was it for Stewart Title to
be either an originating trustee on a deed of trust or a
substitute of trustee on a deed of trust?

A That's another one of those questions that --

 

 

 

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NATHAN L. TOPOL 64
Qo Would you say it was more common for it to be

an original or a substituted trustee, one or the other?

A No.
0 Okay.
A Because the only way we would be a trustee on

original documents is if it was individuals doing the
loan, you know, a seller carryback, that sort of thing.
That's the only time we would prepare a note and deed of
trust. Other than that, it would be institutional
lenders.

Q Okay.

A And the majority, at the time when I was
there, the institutional lenders had their own trustees,
usually in-house companies.

Q Okay. Got it.

So can you explain just kind of generally what
was Stewart Title's process when it received a request
for a reconveyance?

A Certainly. If the file was not handy, the
Eile would be ordered from -- if it was in storage or if
the main office received a request and the file was out
in Douglas, they would request that file.

And then they would again review the documents
that were surrendered to them, should be the original

deed of trust -- not -- if not the original, a certified

 

 

 

 

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copy of it with recording information on it, the

original note, original request for full reconveyance.

QO Now, when you say they, do you mean the escrow
officer?
A ft depends on what -- where it was going

within the Stewart offices.

Oo Okay.

A But, yeah. If it went to the eriginal
officer, that would be fine. If this went to the title
department, they would send it out to the office that
originated the file.

Q Okay. And your role in the process was, and
you can correct me if I'm wrong, was once you received

all of the documents that were part of the reconveyance

request --
A Uh-huh.
Q -- you would -- if the reconveyance needed to

be filled out, you would fill it out, or you would just

process the recordation of the reconveyance?

A It would process the recording.

QO Now, so you would --

A I would sign it and then --

Q So you would receive the completed

reconveyance, you would sign it, and then facilitate

getting it recorded?

 

 

 

 

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NATHAN L. TOPOL 66
A But I would verify documentation to back up

that reconveyance.

Q So when you signed the reconveyance, you would
verify that you had the original note, all of the items
you listed --

A Yes. Yes.

Q ~- and would you also verify what was already
filled out in the reconveyance was accurate, or would
you just assume whoever filled it out before you
accurately did it?

A If I didn't have backup information on that, I
would assume that it was correct because it came from

the escrow that did the original escrow --

Q Okay.

A -- that did the transaction.

o Okay. Now, I know you threw out some names
previously.

But who else that currently works at Stewart
Title would have information who would be able to
discuss this process of how the lien reconveyances are
handled?

A I would imagine anybody at the title company.

Q Okay.
A I mean at the title office in Carmichael.
Q Okay. Now, the process that you've just

 

 

 

 

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NATHAN L. TOPOL 67

 

described -- that we've kind of talked about and you

described regarding how the lien reconveyances were

processed --
A Uh~huk.
Q ~- is it generally the same if Stewart Title

is the originating trustee or the substituted trustee?

A Yes.

0 The only difference would be there's the extra
document of the substitution of trustee?

A Yes.

Q Would there be a notation in Stewart Title's
business records if it received a request for a
reconveyance, like a electronic notation?

A Not that I'm aware of.

Q SO it would just be a physical paper file?

A Yes.

QO And that would be the same whether it's the

originating trustee or the substituted trustee?

A Yes.
Q So it sounds to me once the reconveyance
request ~-- once the lien reconveyance is requested, the

process might change based on whether the lender
provides the executed reconveyance or whether they've
asked Stewart Title to handle that and fill it out and

verify all of the documentation is received?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 68
A Yes.
Qo So in your experience, if Stewart Title was

not the originating trustee, would it record a lien
reconveyance without a recorded trustee -- substitution
of trustee?

A Not that I'm aware of.

Q 50 when you received the request to execute

the full reconveyance --

A Uh-huh.
Q -- would you make sure you had a copy of an
executed -- of a recorded substitution of Crustee, or

did it just need to be executed and then you would
record the executed substitution of trustee?

A Tt would either be the case normally where we
would have the original substitution of trustee to
record or be provided a certified capy of the one that
has recorded.

Q And so if you received a substitution of
trustee that was not recorded but it was the original to
record ~-

A Yes.

Qo “- you would -- you would record that before
or after the full reconveyance was recorded or --

A Prior to.

O Prior to?

 

 

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REGINA K. GARLAND November 25, 2044
NATHAN LL. TOPOL 69
A Yes,

Q Okay. And then if Stewart Title received a
request to reconvey a lien and it was not the
originating trustee and there wag no recorded
substitution of trustee on record, would Stewart Title
prepare a substitution of trustee?

A It's possible.

O So in some cases it would?
A Yes,
QO And in other cases, maybe the beneficiary had

prepared the substitution of trustee?

A Possibly.

Q Okay. Did you ever personally prepare the
substitution of trustees if one needed to be done before
a lien reconveyance?

A Tf I did, it was only at the request of the
lender.

Q SO was there --

A But, no,

Q Would -- so would you Bay, generally, most of
the time, if Stewart Title -- if there was a
substitution of trustee that subbed in Stewart Title,
one was already prepared before it got to you?

A Yes. I'm sorry. You got that -- if it was an

institutional lender, yes.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 70

 

Q Okay. And if it wasn't an institutional

lender --
A If it was an individual, not necessarily.
Q So if it was an individual, there may be cases

where you would receive the file and you would have to
prepare the substitution of trustee?

A But that would be rare because normally they'd
go back to -~ the documents would go back to where the
original escrow was, and that may not be the case.

Q Okay. Were there other -- was there ever
times when either you or Stewart Title inadvertently
recorded documents without the authority to do so?

A I'm sure.

Q Do you recall --

A I mean not that I'm aware of specifically.

But that's kind of the nature of -- it just happens
sometimes with title companies.

Q You mean just in this sort of industry
Mistakes happen and it's just part of the --

A I think everyone is a human being, and human
beings make mistakes.

Q Now, you indicated previously that generally
the full reconveyance had been prepared before it got to
you, and you would generally Sign it and then process

the recording of it?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 71
A Right.
Q And so would you -- and I -- I -- just for

clarification purposes, would you go back and verify
that the full reconveyance referred to the correct
trustee, the correct date of the deed of trust, the
correct serial number of the deed of trust and so on, Or
would you rely on whoever prepared it before you that it
was accurate?

A A little bit of both. But I would have -- in
order to sign one, it was common practice that I had all
the documents there to look at, so I would rifle through
those.

Q Okay.

A Look through them.

Q And then prior to you recording the
feconveyance, was there -- since you were the office
manager, was there anybody -- supervisor or anybody

above you that would do a final check before it was
recorded, or were you kind of the last person to review
it?

A it's depends on which office it came from. If
it was in-office, I would send it back to the -- Li it
was the escrow officer in our office, it would go back
to her to record.

Q Okay.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 72

 

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A Not necessarily to be checked, but just to get
it recorded. And then if it came from another office,
it| would go back to them for recording.

0 Okay.

A That way they had the documents in their
file --~ copy in their file when they sent the original
up to record.

Q So under either scenario after you executed it

you would send it back to someone else to record it?

A If it was not in my office, yes.

0 Okay.

A Yeah.

Qo Now, I know you went through the checklist of

items that you would require --

A Uh~huh.
Q ~- and Stewart Title would require to record a
reconveyance.

Was this a law that you were aware of, or was
this just Stewart Title's policy to require these
certain documents before recording, executing a
reconveyance?

A Tt's common practice in the industry.
QO Okay. And based -- to the best of your
knowledge, did you ever execute a reconveyance without

having all of those items?

 

 

 

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REGINA K. GARLAND ’ November 25, 2014
NATHAN L. TOPOL 73
A No.
QO To the best of your knowledge, were you aware

of whether Stewart Title ever executed a reconveyance
without having all those items?

A No.

Q And are there any circumstances when it would
not execute a reconveyance without all of those items?

A Io have no idea.

Q Okay. But to your knowledge you have never

executed a reconveyance without having all of those

items?

A As well as I can remember.

Q Okay. Sure. Now, once the reconveyance is
recorded --

A Uh-huh,

Qo ~~ is there a process by which Stewart Title

notifies the beneficiary that's it's been recorded, or
does it just rely on the county to mail it a copy?

A It depends on the individual escrow officer
that gets the reconveyance back,

QO Okay.

A What she would normally do. But if it's --
yeah -- private parties, then you might do that. If
it's an institution, you might just rely on the county

fo send the recorded document to them.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 74
Q Okay. So your role as assistant secretary in
this -- in a full reconveyance, you wouldn't --~ once

you've sent it to get recorded, you wouldn't contact the

lender or the beneficiary --

A No.

Q ~- to let them know it was recorded?

A No.

Q And so in this case, when you say the escrow

officer may notify, that would be Nicole Miller in this
case?
A Yes.
0 Okay. And is Stewart Title paid for preparing
a reconveyance?
A Every title company collects a trustee fee.
Q Okay. And I know you kind of walked through
the process of how Stewart Title retains its documents.
So just so I'm clear, it -- once the file is
completed, it would send the file to Carmichael, which
is the main branch. And then Carmichael would send the
file to Iron Mountain to hold for -- in your estimation
seven years?
A Okay. Let me kind of reiterate part of that.
if we're receiving a@ reconveyance in -- or
documents into executed reconveyance on an escrow that

we held in-office -- say, for instance, this one. The

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 75

 

original escrow was in 2002. ‘The request for
reconveyance was done in 2004. That may have
actually -- that office -~ that file may have actually
been in-office still. S80 it would go back to the file
room within that office.

Q Okay.

A If the file had already been sent to storage,
then it would go to -- it would be sent to our main
office in Carmichael, and then they would send it out to
tron Mountain or other storage facility at the time.

Q Okay. Now, just getting to this specific
reconveyance.

tI know you kind of explained the process where
once it got to you you had all the documents that were
provided by the escrow officer?

A Uh-huh.

QO You make sure the documents were there before
you signed the reconveyance?

A Yes.

Q it seemed like it wasn't always clear whether
you would rely on what the escrow officer filled out
before, or sometimes you would -- you know, even though
you had the file right there you would go and verify the
recording number, the serial number. [If -- SO going

back to Exhibit 1.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 16

 

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By signing this reconveyance, that would mean
that you had verified that you had a -- you had received

an executed request for reconveyance from the

beneficiary?
A Yes,
0 The original note from the beneficiary?
A Yes.

Q A substituted trustee that substituted in
Stewart Title or Sierra Valley?

A Uh-huh.

Q That would -- by executing this that would
mean that you had all of these items?

A By executing that it states that I have
everything I need necessary to record the full
reconveyance.

Q So that would also mean that you verified that
Stewart Title was the trustee under the deed of trust?

A Yes.

Q And how would -- would you verify that by
seeing if there was a substituted trustee?

A Yes.

Q Would that be the only way you would be able
to verify if Stewart Title was the trustee under the
deed of trust?

A As far as I know, yes.

 

 

 

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REGINA K. GARLAND November 25, 20174
NATHAN L. TOPOL 77

 

0 Okay. Sorry. I don't want to ask you stuff
you've already answered.

A That's okay.

Oo So I know we went through this a little bit
earlier. Going back to Exhibit 1.

The recording date referenced in Exhibit 1 for

the deed of trust says December 16th, 2002?

A Yes.

Q Where the actual recording date for the deed

of trust was October 16th, 2002?

A Yes.

Q And I think earlier you indicated that was a
typo?

A i'm assuming it was a typo. But, yes.

Qo And it also indicates that Sierra -- that --
Exhibit 1 also indicates that Sierra Valley is the
trustee under the deed of trust.

Based on that and because Sierra Valley is net
the trustee under the deed of trust, would I -- would
the assumption be correct that you saw a substitution of
trustee before signing this?

A Yes. The assumption would be that there was a
substitution of trustee. It might have been of record.

QO Is there a possibility, based on your review

of this full reconveyance, that it was not for this deed

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL #8

 

of trust?

A i'm sorry?

Q fs there a possibility based on your review of
this full reconveyance that it was not intended for
Exhibit 2, for the deed of trust? Could it potentially
be that this reconveyance was for another lien or
another deed of trust?

A Not that -- not that I would think. No.

QO Okay. So your review of this full

reconveyance --
A Yeah.
Q -- you believe it was for --
A Iocan't --
Q -- Exhibit 2?
A Because the recording information, I mean the

date was wrong. The series number ig the same.

0 If you were still working for Stewart Title --

A Uh-huh.

O ~~ and you had seen a copy of the -- this full
reconveyance --

A Uh-huh.

Q ~- and you saw that it referenced the wrong

recording date --
A Uh-huh.

Q -- would you have done anything to correct it?

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 79

 

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A ft would probably check with Citibank because
they would have the original mailed to them to see if
they wanted it rerecorded to correct that date.

Q And then if they said, No, it's not a big

deal, don't worry about it, you wouldn't have done it?

A No.
Q Okay.
A If the series number wasn't on there, then we

would have had to.

Q I know you previously indicated you didn't
know any of the Topols, you didn't recognize this file
other than, you know, it looks like your signature?

A Uh-huh.

Q Do you recall if you were ever contacted by
anybody regarding this reconveyance indicating it
Shouldn't have been recorded?

A No, IT don't remember.

MR. HARRIS: Other than my office.

THE WITNESS: Oh. Other than Norma. Yes. No.
BY MR. McDERMOTT:

Qo Okay. All right. Just a few more questions.

During your tenure at Stewart Title, did you
ever mistakenly record any documents?

A I'm sure.

Q Were you alerted --

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 80

 

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A I don't remember but --

0 Well, were you alerted -- if you did make the
mistakes, were you alerted to those mistakes?

A Oh, absolutely.

Q SO, generally, you can recall instances where
you recorded a document that shouldn't have been
recorded and you were alerted of it?

A Sure.

Q And then in those instance what -- how -~ what
did you do to correct the situation?

A Bither we were able to obtain the original
document to rerecord it, or to record a new document to
replace that document.

Q Okay. Do you recall if you ever recorded a
full reconveyance where it shouldn't have been recorded?

A I don't remember,

QO Do you recall if anybody at Stewart Title
while you were there, not you, recorded a full
reconveyance and it shouldn't have been recorded?

A I honestly don't remember.

Q Okay. And when -- in the instances where you
recorded something and it may have contained a mistake,
generally how were you alerted of those mistakes?

A If it didn't come from the county, which by

that point it would be too late to do anything about the

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 87

 

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document unless they caught it before it physically
recorded, because they review documents too, then, if
the principal involved, once they received whatever
document it was, if they noticed it they would take care
of it then.

Q Okay. So it would generally come from like
the beneficiary or the lender or --

A Yes.

0 Okay. And then it would be up to them whether
they wanted to take any action to correct the mistake?

A Yes.

Q During your tenure at Stewart Title, do you
recall ever working regularly with anybody at
CitiMortgage?

A No.

Q Do you recall working regularly with anybody
at CitiMortgage regarding reconveyance requests?

A No.

0 Do you recall how -- well, specifically, for
CitiMortgage, would they be one of these institutional
lenders that would provide, generally, an executed
reconveyance, or would they ask Stewart Title to prepare
and execute the reconveyance?

A Most it's -~ I'm going to give you kind of a

general answer.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 82
Q sure.
A But most institutional lenders prepare their

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Q

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mistakes?
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or do you

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one of those lenders that would generally prepare their

ever disciplined or reprimanded for any errors or

So -- and you -- in your estimation Citi was

I honestly don't know.
Okay.

And I can assume so, but I don't know for

Okay.
Long time ago.
Sure. No. No. I -- I -+ yeah.

During your tenure at Stewart Title, were you

I'm sure I was.

Do you recall any of those specific instances,
just remember --

No.

-~ it occurred at some point?

I'm sure I made mistakes.

Well, were you ever disciplined or reprimanded
mistakes?

Other than somebody talking to me about it. TI

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 83

 

mean that's --

0 Who would have --

A -~ I'm assuming.

0 Who would have talked to you about it?

A This is all going off of an assumption --

Q I know it's a long time ago. Yeah. Yeah.
A Well, it would have been either my immediate

supervisor, who was the county manager, Clark Davenport.
I don't believe the president of the company or anything
ever reprimanded me.

Q And did you say Clark Davenport was still --
He's still there.
~~ still there?
Yes.

And what was his title again?

FO PF 2 B

He's now county manager of all Sacramento and

Placer County operations.

Q And what office is he located in?

A He's in one of the Roseville offices.

Q Okay.

A Iocan give you the phone number. TI think you

can get him through the other office I used to be in.
Q Okay.
A But it's (916) 783-8845.

QO Okay. Now, I know you indicated that you were

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 84

 

an office manager at Stewart Title for about 25 years,

right?
A Yes.
Q Were you ever promoted or advanced within

Stewart Title due to your performance?

A Well, when I went to work there, I was a
branch manager/office manager. So that was kind of as
high as you could go there. I was -- other than given
the title of assistant secretary, I think I was a vice
president for a while.

Q Okay.

A That sort of thing.

Q And then I think my last question, so you

indicated you retired from Stewart Title in 2010, right?

A Yes.
O And that was just retirement.
You were --

A Actually, I was technically laid off.

MR. MCDERMOTT: Okay. All right. Well, I think
those are all the questions I have.

THE WITNESS: Okay.

MR. DEMETRAS: So I have a couple questions.

THE WITNESS: Certainly.
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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 85

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EXAMINATION
BY MR. DEMETRAS:

Q. We're all confused about the file and where it
went.

So if you look at Exhibit 2, the deed of
trust, handwritten is this file number. all right.
And so could you tell me again what's the 34?

A The 34 desiqnates the branch in Roseville,
because we had more than one branch number .

0 And the 50 --

A Oh, I'm sorry. The 506527?

0 That's the file?

A That's the actual escrow number, file number.

Q Okay. So in 2002 there was then an actual
file that had, what, the original note? What would he
in the original file in 2002?

A Okay. This appears to have been an
institutional lender, so the original note would have
gone back to the lender as well as all the original
documents except the deed of trust. That would have
been recorded through this file at the county. And a
copy of all the other documents would be in the file,

Q So your file then would have a copy of all the
original documents?

A Yes.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN LL. TOPOL 86

 

Q And a deed of trust?
A Yes,
Q All vight. So then two years later there's

this reconveyance, right?

A Yes.
0 And it's in the same office with the same
people?

A I don't believe they actually did the escrow,
because I'm also seeing this number here, which I don't
recognize.

Q Which number is that?

A I'm sorry. It's under all of the addresses on
the deed of trust on Item 2.

Q Right.

A ft's 022107722-RR --

QO Yes.

A That, to me, and I don't know for sure, looks
like another escrow officer but from another company.
I'm just not sure what that number is.

The documents, again, would have been
surrendered as the trustee, which doesn't show on there,
for issuance, so

Q So in looking at this deed of trust, can you
tell where the documents were, the copies of the

documents? Were they at Sierra Valley with

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL Bf

 

Nicole Miller, or were they with this RR number down
here?

A No. They should be -- the documents on this
loan should be at Sierra Valley/Stewart with
Nicole Miller -- or in this Eile, which I understand has
now been shredded.

Q Well, that's -- I'm coming to that question.

A sorry.

Q Okay. So there's the file?

A Uh-huh,

QO SO was there ever a time where you would rely
on your staff to do a full reconveyance without looking
at the file?

A No.

0 So you would -- before you signed this, you

would have looked at your file?

A Yes,

Q Nicole Miller's file?

A Yes,

6) Okay. And so that's in 2004?

A Yes.

QO And so how long after all these documents were
Signed -- now, I'm assuming then the file would then
have a request for reconveyance ~~ the file that you had

now in addition to those copies of the original loan

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 88

 

docs would have these other documents that we have --

A Exactly.

Q ~- right?
A Yes.
Q And so every time you did one of

these, especially with this one, you would have looked
at the file, signed the reconveyance ~-

A Uh-huh.

Q ~~ and then given the file back to
Nicole Miller?

A Yes.

Q Okay. So then that's in 2004?

A Yes.

QO Okay. Then would Nicole Miller send it to

storage?
A If there wasn't sufficient room in the office
at that time in the file room in the back -- in other

words, if she had to get the file from storage, it would
go back to storage, yes.

Q But you said earlier it may have still been in
the office?

A fe could have. It just depends on how many
files they had in the backroom.

Q Okay.

A And I don't remember.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 89
Q So when a file goes back to storage to Iron
Mountain --
A Uh-huh,
Q -- is there a person in the office that is in

charge of sending files back? And is there a computer
program which lists the file transfers?

A The file when I -- the files when I was there
went through a gentleman by the name of Mike Greco --

Q Okay.

A That's G-r-e-c-o,

~~ at our Stewart office in Carmichael, the

main office, the one on Fair Oaks Boulevard.

Q Okay. So then they would leave -- the file
would leave Douglas --

A Uh-buh.

QO ~- and go to Carmichael?

A Yes,

QO Okay. And then from Carmichael, it would go
to storage?

A Yes.

Q So Mike Greco in Carmichael would have to
notify Iron Mountain to come to pick up the box?

A Absolutely.

Q Right?

A Yes.

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 90
9 And so does Irom Mountain have a computer

program where they list files going in and out?

A I never saw that, so I don't know.
0 Okay.
A I've never seen that.

Q Would Mike Greco know that?

A He would, but I don't believe he's at Stewart
anymore.

0 And where is he now?

A I don't know.

Q Do you know who's in charge of transferring
files back and forth to Iron Mountain and Stewart?

A i don't since I've left there. No.

Q Okay. So then at some point the file goes to

storage off site?

A Yes.
Q Who decides when it's time to shred it?
A I think it's just a housekeeping question --

where there is a legality involved I believe it's seven
years. We have to keep it for seven years.
Q Right. But does someone decide that all files

after a certain date are purged?

A Yes,
0 So --
A That's done within the main office,

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 91
Q SO would there be a message from Mike Greco to

tron Mountain, Purge the following files?

A i'm not sure of how they did that actually.
Because I know before I left the company they were
Starting to do that. But I don't know if they did that
in-house in Carmichael or if Iron Mountain did that.

Q All right.

A I wasn't a part of that part of the process.

0 And how do you know that the file's been
shredded?

A That's what I was told.

0 Okay.

A When I received phone calls from Norma -- T
called the office to find out where this file was, and I
was told. And I think Norma was told that it had been
shredded also.

QO So had Norma contacted the Carmichael office?

A I think -- I'm not sure if it was -- I say
Norma, but I'm assuming it was Norma. She talked to
somebody in my -- in the Roseville office. She was
talking to Debbie Shefke, which partners with

Nicole Miller, the escrow officers on here.

QO . What was her name? Debbie what?
A Debbie, last name is S-h-e-k-f-e -- I'm sorry.
I said that wrong. It's S -- § -- I can't even Say it.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 92

 

S-h-e-f-k-e, Shefke.

0 Okay. Have you talked to anyone to prepare
yourself for this depo, or have you talked to anyone
about this depo before you came in today?

A No. Well, let me back up.

Mr. Davenport was aware of it. I did talk to
him.

QO And who is Mr. Davenport?

A Oh. Clark Davenport. He's the county manager
for Stewart Title for Piacer County and Sacramento
Counties,

Q Ail right.

A But there was no preparation done.

MR. HARRIS: And then, Craig, Just so you know,
Norma called her I think two days ago to verify that she
was going to come up here, and I think she talked to her
a month or two ago about the facts.

THE WITNESS: Yes.

BY MR. DEMETRAS:

Q And how long ago did you hear that the file
was shredded?

A Oh. ‘That would have been after the first
phone call from Norma. A couple months ago I would say.
That's just a guess though.

MR, HARRIS: Also, I think CitiMortgage tried to --

 

 

 

 

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NATHAN L. TOPOL 93

 

I think CitiMortgage subpoenaed the documents, and I
think they were told that the documents had been
destroyed.

MR. McDERMOTT: JI think that's right. Yeah.

MR, DEMETRAS: And when did you subpoena them?

MR. McDERMOTT: I'm not sure. I can let you know,
but I'm not entirely sure. I don't know -- I think we
subpoenaed Sierra Valley and the response to the
subpoena was from Stewart title. I don't think we
reached out to Iron Mountain.

MR. DEMETRAS: Oh, okay.
BY MR. DEMETRAS:

Q So not to keep beating the dead horse here.

But so you would have had a copy of the

original note in your file?

A Yes.

Q And the original note would have been at
CitiMortgage?

A I'm sorry. Are you talking about in the

Original escrow file?
QO For the reconveyance.
A On the reconveyance.
Normally that original note is surrendered to
us if we're the trustee. Normal practice anyway.

Q But here you don't remember if that's true

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 94
here?
A | No. I don't remember signing this. So, no.
0 Is there ever a situation where you would --

where CitiMortgage would reconvey the lien, the deed of
trust but keep the note as an unsecured note?

A Not that I'm aware of.

QO So in your experience then a reconveyance, you
would have the note, the note would have been paid off
in full, and there would have been a request for
reconveyance before you signed this: is that true?

A Yes. Or the lender in this -- if we didn't
have a substitution of trustee would have just sent us a
full reconveyance to record. We wouldn't be aware of
what the terms are or if the note is still in effect or
any of that.

MR. DEMETRAS: Okay. That's all the questions I
have right now.

MR. HARRIS: Let's just take a quick break. Five
minutes, and then just wrap it up.

THE WETNESS: Okay.

(Brief recess taken.)

FURTHER EXAMINATION
BY MR. HARRIS:

Q Just a couple of clarifying points.

 

 

 

 

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NATHAN L. TOPOL 95
A Yes.
QO On the full reconveyance, which is Exhibit l,

on the escrow number it starts out, as you said, DG,
which is the Douglas location. And it Says 54. And
then on the deed of trust it Says 34.

What's the difference between 34 on the deed
of trust and 54 on the full reconveyance?

A The -- our computer system is probably the
difference. The 34 is what we were designated while we
were Sierra Valley Title.

QO Right.

A When it went to Stewart, even though we're
still doing a Sierra Valley reconveyance, it was
designated as 54.

Q Okay.

A So it was the computer thing.

Q Okay. So --

A As far as I remember.

Q So how would -- how would your office go about
recording a full reconveyance? Would you send it by
delivery, messenger to the title company? Do you have a
runner that works in-house? How would it happen?

A We have a courier. I'm sorry. We had a
courier -- or they have a courier. I'm not there. ‘The

courier would take it directly up to the county.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 96
QO Okay. Sierra, slash, Stewart?

A Un-huh. Yes. Yeah.

Q And do you know if they had any kind of -- did
these couriers have any kind of log-in system if they
got documents, would they give you receipts for it, or
would they just pick up the documents, no accounting for

them, and take them down to recording?

A They pick up the documents in a recording bag,
and then it goes up to -- it would go up to our Auburn
office -- I'm sorry -- not our Auburn office. The

Placer County Recorder's Office. We had a desk in there
with a person that would then take the documents and

physically record them at the counter.

Q Somebody from the county?
A Right.
Q Okay. When the county is recording -- when a

county employee is recording a full reconveyance, do
they have a process to check to see if the trustee
signing on the full reconveyance is, in fact, the
trustee of record?

A Not that I'm aware of. I don't believe so.

Q So as far as you know they don't have any sort
of cross-check to see if the trustees are one in the
same?

A Not that I know of.

 

 

 

 

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NATHAN L. TOPOL 97

 

 

o Okay. Do you know if -- do you know if
CitiMortgage would have recorded its own substitution of
trustee, or would they have asked you to record their

substitution of trustee?

A They could have recorded their own. It wag
not uncommon of -- for institutional lenders to do that.
Q Had you ever done much CitiMortgage

recordations on CitiMortgage Loans, Citibank loans
before?

A I never did. No.

Q I think that's all I -- did you have -- oh.

You said you were -- the title -- your company
was paid a fee to do the full reconveyance?

A Uh-huh. Yes. It's -- it's standard practice
in the industry that there's a trustee fee collected for
preparing and recording a reconveyance.

Q Do you know how much that fee was?

A It used to be $45,

Q Okay. Did you record in your branch office
the income and the expenditures for your office
location?

A No.

Q Who would record, let's say, this $45 fee or
whatever the fee was to do the full reconveyance?

A That should have gone back to the original

 

 

 

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NATHAN L. TOPOL 98
file.

Q Okay. And then from the original --

A So if it was done, it would have been done by
Nicole,

Q Okay. And then that would have somehow been
billed by Nicole on behalf of the title company?

A Well, it would have been -- it depends on
where -- I'm sorry. Let me back up.

When we received the documents, depending upon
where they come from, if it's another title company that
pays off the actual deed of trust and they send us the
documentation in order to reconvey it, they'll usually
send a check up front.

But if it's an institutional lender, sometimes
we would bill them, or not, and just not collect one.

Q Would there be any electronic records of in
this instance Citibank, CitiMortgage being billed for a
reconveyance?

A There might be an invoice in the file, but
nothing electronic.

Q Did -- would your office back in January of
2004 make a practice of scanning records into the
computer system?

A I don't believe we had a scanner then. So,

ho,

 

 

 

 

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NATHAN L. TOPOL 99
Q When do you think you had a scanner?
A I know we were using scanners when I left.

But it had been a few years that we had been using them,
so I don't even know exactly when. We were a little bit
behind in technology.

Q SO you don't believe you had a scanner in 2004
available in your office?

A No.

QO And then I don't think I have -- one last
question.

A Yes,

O And in your 25-year-plus title company
history, have you ever examined a recorded reconveyance
that was subsequently, after recordation, deemed to have
been altered in any way?

A No.

MR. HARRIS: I have nothing further.

FURTHER EXAMINATION
BY MR. McDERMOTT:
C Just one question.
So for this reconveyance, assuming that there
was no substitution of trustee that subbed in,
Sierra Valley Title would have been the trustee?

A Yes.

 

 

 

 

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NATHAN L. TOPOL 100

 

Q And assuming that Sierra Valley Title never
received the original note from Citi --

A Uh-huh. Yes.

Q -~- would you agree that Sierra Valley Title

and you didn't have authorization to execute this

reconveyance?
A i'd rather not answer that. No. It sounds
like I don't have -- If didn't have authorization. I

don't know.

QO So you don't know if you -- if Sierra Valley
would or would not have authorization if it didn't have
those items?

A Right.

Q This is just assuming you didn't have those
items.

A Right. I wouldn't have signed one if it
didn't have those items.

Q And you wouldn't have Signed it if you didn't
have those items because it's -- it was the business
norm, part of the industry that you have those items
before signing this?

A Absolutely.

Q But you don't know if you wouldn't be
authorized to sign it without those items?

A Right.

 

 

 

 

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 101

 

MR. MCDERMOTT: Okay.

FURTHER EXAMINATION
BY MR. DEMETRAS:

Q SO you would be authorized to sign a
reconveyance 1f you didn't have those items? Is that
what you said?

A No. J --

Yeah. Sorry.
I guess I did.

Yeah.

PO fF 0

I guess there could have been an instance
maybe if the main office said they've got documents. I
don't -- I don't recall anything like that though.

MR. HARRIS: Her words were, Does not know if
authorization to sign without these items.

THE WITNESS: Okay.

MR. HARRIS: She does not know if she had
authorization to sign without these items.

THE WITNESS: It was not a normal, common practice.
It would be -- it would be something unusual.
BY MR, DEMETRAS -

Q Could you sign this legally without those
items?

A ft wouldn't sign it without the items.

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REGINA K. GARLAND November 25, 2014
NATHAN L. TOPOL 102
QO Okay.
A ft mean I guess you could sign anything, but I

wouldn't, nor did I ever in 35 years in the business do
that.

MR. HARRIS: Thirty-five. Not -- sorry.

THE WITNESS: It was only 25 at Stewart,

MR. HARRIS: Anything else?

MR. McDERMOTT: I don't have anything.

THE REPORTER: Mr. Demetras, would you like a copy
of the transcript?

MR. DEMETRAS: Yes.

THE REPORTER: And, Mr. McDermott, would you like a
copy of the transcript?

MR. McDERMOTT: Yes, please.

(Deposition session concluded at 3:29 p.m.)

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NATHAN L. TOPOL 103

 

DEPOSITION ERRATA SHEET

Our Assignment No.: 239769

Case Caption: In Re: Nathan bh. Topol, debtor

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that I have
read the entire transcript of my Deposition taken in the
captioned matter or the Same has been read to me, and
the same is true and accurate, save and except for
changes and/or corrections, if any, aS indicated by me
on the DEPOSITION ERRATA SHEET hereof, with the
understanding that I offer these changes as if still

under oath.

Signed on the day of

 

Regina K. Garland

 

 

 

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NATHAN L. TOPOL 106

 

STATE OF CALIFORNIA )
Ss.
COUNTY OF SACRAMENTO  )

i, Mark S. Patterson, a licensed Cartified
Shorthand Reporter, duly qualified and certified as such
by the State of California, do hereby certify:

That prior to being examined, the witness
named in the foregoing Ceposition was by me duly sworn
to testify to the truth, the whole truth, and nothing
but the truth;

That the said deposition was by me
stenographically recorded at the time and place first
herein mentioned; and the foregoing pages constitute a
full, true, complete and correct record of the testimony
given by said witness;

That I am a disinterested person, not being in
any way interested in the outcome of said action nor
connected with, nor related to any of the parties in
Said action, or to their respective counsel, in any
manner whatsoever.

IN WITNESS WHEREOF, I have hereunto set my

hand this 4th day of December, 2014...
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Mark S. Patterson, CSR No. 12432

 

 

 

 

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Attorneys for CitiMortgage, Inc.

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA — RENO DIVISION
In re Case No. 12-51014-btb
NATHAN L, TOPOL, Chapter 7
Debtor.

NOTICE OF INTENT TO SERVE
SUBPOENA ON NON-PARTY

 

TO ALL INTERESTED PARTIES:
PLEASE TAKE NOTICE that, on June 24, 2014, CitiMortgage, Inc., by and through

undersigned counsel, will cause the attached subpoena to be served on Sierra Valley Title

Company.
Respectfully submitted,
PITE DUNCAN, LLP
Dated: June 24, 2014 /s/ Eddie R. Jimenez

 

EDDIE R. JIMENEZ
Attorneys for CitiMortgage, Inc.

~i Case No, 12-51014-btb

NOTICE OF INTENT TO SERVE SUBPOENA

 
Case 15-05015-gwz Doci1i1_ Entered 11/03/16 22:59:22 Page 137 of 167

 
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Steve Harris

 

SA a SD
From: Eddie R. Jimenez <ejimenez@piteduncan.com>
Sent: Monday, June 30, 2014 3:32 PM
To: Steve Harris
Subject: RE: Nathan L. Topol Chapter 7 Case - Objection to CitiMortgage Proof of Claim
Atiachments: Sierra Valley Title Subpoena.pdf

Hello Steve,

The subpoena is attached. Also, my hearing for tomorrow was continued to July 29". if you are available, we can have
lunch then. Talk to you soon.

Eddie R. Jimenez

Partner

Pite Duncan, LLP

Main Office: (858) 750-7600
Direct Dial: (858} 750-7612
Direct Fax: (619) 590-1385
ejimenez@piteduncan.com

www.piteduncan.com

Arizona | California | Hawaii | Idaho | Nevada | Oregon | Texas | Utah | Washington

From: Steve Harris [mailto:steve@harrislawreno.com]

Sent: Wednesday, June 25, 2014 4:04 PM

To: Eddie R. Jimenez

Subject: RE: Nathan L. Topol Chapter 7 Case - Objection to CitiMortgage Proof of Claim

Hi Eddie —

| note that you filed a Notice of Intent to Serve Subpoena on Non-Party (Doc. 905). The Subpoena that is referenced in
the Notice was not attached to the filed Notice, so please provide me with a copy of that proposed Subpoena.

Thank you,
Steve

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 89511

775-786-7600

steve @harrislawreno.com

From: Eddie R. Jimenez [mailto:ejimenez@piteduncan.com]

Sent: Wednesday, June 25, 2014 12:40 PM

To: Steve Harris

Subject: RE: Nathan L. Topol Chapter 7 Case - Objection to CitiMortgage Proof of Claim

1
Case 15-05015-gwz Doc 111 Entered 11/03/16 22:59:22 Page 139 of 167

B257 (Porm 257 ~ Subpoena ta Produce Documents. bformation, or Obiects or To Permit Inspection ina Bankruptey Case or Adversary Proceeding} (12/13)

UNITED STATES BANKRUPTCY COURT

District of Nevada

 

Inre Nathan Topol

— Debtor
Case No, 22-51014-btb

(Complete if issued in an adversary proceeding}

 

 

Chapter oF
" Plaintiff
v, Ady. Proc. Noo
~ Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

Yo: Sierra Valley Title Company
(Name of person to whom the subpoeacd ts directed)

 

&) Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling, of the

material: See Attachment A

 

PLACE DATE AND TIME
4375 Jutland Drive, San Diego, CA 92117 July 8, 2014

 

 

 

 

[] Jaspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph. test, or sample the property or any designated object or operation on it,

 

PLACE DATE AND TIME

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached — Rule 45(c), relating to the place of compliance; Rule 4S(d), relating to your protection as a person subject to a
subpoena; and Rule 43(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
daing sa.

  
      

 

 

 

 

a
CLERK OF COURT —peoninnn
ee ~
OR ee .
Fe wee 4,
“see soe
* “ oer " — ae . STE ae
Signature of Clerk ar Deputy Clerk Attorney s slinetiuge “a
Ne ett sates
The name, address, email address, and telephone number of the attorney representing (name'gf party} é
CitiMertaqage, Ine. _» Who issues or requests this subpoena, are: nd

 

Pite funean, LLP c/o Eddie R. Jimenez, 4375 Jutland Dr., Suite 200, San Diega, CA 92117, ejyimener@piteduncan.com (858)750-7612

 

Notice to the person who issues or requests this subpoena
'f this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person fo whom it is directed, Fed. R. Civ. P. 45¢a}(4).
Case 15-05015-gwz Doci1i1_ Entered 11/03/16 22:59:22 Page 140 of 167

 

B25] (foe

 

Subperna w Produce Documents, letayaiation, or Giyects or Te Permit Inspection in a Rankvupley Case or Adveruay Proceeding) Mure 2)
PROOF GF SERVICE
(This section should nei be fled with the court unless required by Fed. Civ, P, 45}

[received this subpoena for (neue of individual and ttle, if ary):
Le ve —

a rid ak
CHa teeny

 

 

ON deey ce

 

iT returnec! the subpoena unexecuted because:
Dp

 

 

 

Unless the subpoena was issued on behalf of the United States, or one of Its officers or agents, | have alse tendered to the
witness the fees for ane day's attendance, and the mileage allowed by law, in the amount of $

 

My feesarcS 0 fortraveland $s for services, for a total of $

i Geclare under penalty of perjury that this Information is true and correct.

Date:

 

 

 

 

 

Additional information concerning attempted service, efc.:

 

 

 

 
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ATTACHMENT A
DEFINITIONS

I. “YOU,” “YOUR,” and “YOURS” shall mean SIERRA VALLEY TITLE
COMPANY, and agents, representatives, ar any other persons and/or entities SIERRA VALLEY
TITLE COMPANY is acting on behalf of or person and/or entity acting on SIERRA VALLEY
TITLE COMPANY’s behalf.

2. “CITI” shall mean CITIMORTGAGE, INC., CITIBANK, F.S.B., CITIBANK
SERVICE CORP., and all successors, assigns, attorneys, agents, employees, representatives, or
any other persons acting on its behalf.

3. The term “PROPERTY” shall refer to the property commonly known as 4250
West Lake Boulevard, Homewood, CA 96141.

4. The term “NOTE” shall refer to the promissory note executed by NATHAN L.
TOPOL on or about October 9, 2002, in the principal amount of $5,500,000.00 in favor of
Citibank, F.S.B,

5. The term “DEED OF TRUST” shall refer to the Deed of Trust executed by
NATHAN L. TOPOL on or about October 9, 2002, securing the NOTE and recorded in Placer
County on October 16, 2002. as document number 2002-0125157. A copy of the recorded Deed
of Trust attached hereto as Exhibit 1.

6. The term “SUBJECT LOAN” or “LOAN?” shall refer to the loan NOTE executed
by NATHAN L. TOPOL and the DEED OF TRUST executed by NATHAN L. TOPOL on
October 16, 2002, and defined herein.

7. The term "DOCUMENTS" as used herein shall be deemed to mean, without
limitation, all papers, notes, records, electronically stored information, e-mails, facsimile, films,
photographs, recordings, tapes, transcriptions, books, and other things, whether or not in your
possession or under your control, directly or indirectly relating to or pertaining in any way to the

subject matters addressed in these interrogatories, and including. but not limited to, all originals,

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copies, or other reproductions, whether prepared by handwriting, typewriting, printing,
photostating, photographing, electronically stored, or any other means of recording upon any
tangible thing, any form of communication or representation, including letters, words, pictures,
sounds, symbols, or any combination thereof.

8. “IDENTIFY”, when used with respect to a person or entity, shall mean to state
the person’s or entity’s

a. Full name;

b. Occupation, or business type if an entity;

c. Last known business address and telephone number; and
d. Last known residential address and telephone number.

9, “IDENTIFY”, when used to “identify” or for “identification” of a document, shall
mean to state that document’s:

a. Date;
b. Its author, signer, or signers;
c. Its addressees:
d. The form of the document:
e. Its substance; and
f. Its present or last-known location and custodian. If any such document was,
but is no longer in your possession or control, state what disposition was made
of it, the date of the same thing, and the reason for such disposition.
10. “RELATING TO” and “REFERRING” means mentioning, discussing,
evidencing, summarizing, describing, referring to, depicting, embodying, constituting, reporting

or in any way involving.

Page 2 of 4
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Hi, | “ALL” and “ANY” shall mean “any and all” and “each and every,

YOU ARE COMMANDED to produce any and all documents referring and/or relating
to the real property located at 4250 West Lake Boulevard, Homewood, CA 96141 (the

“Property”). A copy of the recorded Deed of Trust attached hereto as Exhibit 1:

1. Identify all documents and/or information referring and/or relating to:
a. Documenis from Citi referring and/or relating to the Property;
b. Documents to Citi referring and/or relating to the Property;
c. All documents referring and/or relating to the Loan;
d. All documents referring and/or relating to authorization from Citi or the

appointment by Citi of a substitute trustee for Deed of Trust:
e, All documents referring and/or relating to the substitution of trustee for
the Deed of Trust:
f. All documents referring and/or relating to Nathan L. Topol;
g. All documents referring and/or relating to Sierra Valley #34-506527 NM:
h. All documents referring and/or relating to Escrow No. DG-54506527-NM:
i. Identify all Sierra Valley Title Company employees, past or present, that

worked on any documents regarding the Property;

j. All documents referring and/or relating to Regina Kay Krahn;
k, All documents referring and/or relating to Regina Kay Krahn‘s authority

to sign the Full Reconveyance recorded in Placer County on January 12, 2004, as document
number 2004-002629. A copy of the recarded Full Reconveyance attached hereto as Exhibit 2:

i, All documents referring and/or relating to Cari Lemos as the notary who
signed the Full Reconveyance attached hereto as Exhibit 2;

m. All documents referring and/or relating to the Full Reconveyance attached

hereto as Exhibit 2;

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n. Identify all Sierra Valley Title Company employees, past or present that
were associated with the Property.

QO. All documents referring and/or relating to any request to reconvey the
Deed of Trust;

p. Identify all documents referring and/or relating to any Citi employees
and/or persons associated with Citi or acting on behalf of Citi with whom Citi Sierra Valley Title
Company interacted in any way with in relation to the loan or any other loans associated with
Nathan L. Topol;

q. All documents referring and/or relating to any request from Citi to
reconvey the Deed of Trust;

r All documents prepared by the law firm of Jones Vargas referring and/or
relating to the Loan

In the event that you do not have any records for the Property or any responsive
information/documents to the above requests, please provide:

Ss. A written statement that you have no records referring or relating to the
Property;

t. A written statement that you have no records and/or information from Cit}

requesting the reconveyance of the Deed of Trust.

Page 4 of 4
ase 15-05015-gwz Doc111 Entered 11/03/16 22:59:22 Page 145 of 167
RECORDING REQUESTED py

SIERRA VALLEY TITLE CO.
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cinenday, ocr 16. 2882 08:16:44
seecalillyrat-soso7 MR
Citibank, F.S.B.

12855 North Outer Forty Drive
Saint Louis, MO 63141

When Recorded Mail te:

Citibank, F.S.B,

c/o CitiMortgage, Inc. :
P.O. Box 9206, MS 81026
Farmington Hills, MI 48333-9206
Send Tax Notices to:

Citibank, F.S.B,

P.O. Box 790009

Saint Louis, MOQ 63141

SLDACTED

 

 

[Space Above This Line For Recording Data}
Loan NopREDACTED

DEED OF TRUST

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18, 20 and
21, Certain roles regarding the usage of words used in this document are also provided in Section 16.

{A} Security Instrument*? means this document, which is dated October 9, 2002, togeiher with all Riders to this docurnent.
(B} “Borrewer"’ is Nathan L. Topol, a married man as his sole and seperate property. Borrower is the trustor under this
Security Instrument.

(C) “Lender” is Citibank, F.5.B.. Lender is a Savings Bank organized and existing under the laws of the United States.
Lender’s address is 1 Court Square, Floor 20, Long Island City, NY 11120. Lender is the beneficiary under this Security
Instrument.

(D) *“Frustee”’ is Citibank Service Corp, A California Corporation.

{) ‘Note’? means the promissory note signed by Borrower and dated Octaber 9, 2002. The Note states that Borrower owes
Lender Five Million Five Hundred Thousand Dollars (U.S. $5,500,006.00) plus interest. Borrower has promised to pay this
debt in regular Periodic Payments and to pay the debt in full not later than November 1, 2032.

CALIFORNIA - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT ; Form ep

C3005 - 04/11/2001 a 7 Page i of 11 vod initials:

EAHIBIT 9

 
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(F) “Property”? means the property that is described below under the heading ‘‘Transfer of Rights in the Property.”

(G) ““Loan’’ means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the
Note, and all sums due under this Security Instrument, plus interest.
{H) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following Riders are to be

executed by Borrower:

[X Adjustable Rate Rider [ ]Condominium Rider [ _jSecond Home Rider

| |Balloon Rider [__|Pianned Unit Development Rider  [__[Other(s}:

[]i-4 Family Rider _]Biweekly Payment Rider
(DB “Applicable Law’? means all controfling applicable federal, state and local statutes, regulations, ordinances and
administrative rufes and orders {that have the effect of law) as well as all applicable final, non-appealable judicial opinions.
W “Community Association Dues, Fees, and Assessments’ means all dues, fees, assessments and other charges that are
imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.
(i) “Electronic Funds Transfer’ means any transfer of fuuds, other than a transection originated by check, draft, or similar

paper instrument, which is initiated through an electronic terminal, telephonic instrament, computer, or magnetic tape so as to
order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not limited to,
poml-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and automated
clearinghouse transfers.

@) “Escrow Ttems?? means ihose items that are described in Section 3.

(4) “SisceHaneous Proceeds’? means any compensation, settlement, award of damages, or proceeds paid by any third party
{other than insurance proceeds paid under the coverages described in Section 5) for: (D damage to, or destruction of, the Property;
Gi) condemnation or other taking of ali or any part of the Property: (iid conveyance in lien of condemmation; or div)
misrepresentations of, or omissions as to, the value and/or condition af the Property.

{Nj **Mortgage Insurance’ means insurance protecting Lender against the nonpayment of, or default on, the Loan,

(Q) “Periodic Payment’? means the regularly scheduled amount due for: (i) principal and interest under the Note, plas (ii) any
amounts under Section 3 of this Security fustrument. :

{P} “RESPA*' means the Real Estate Settlement Procedures Act (12 U.S.C. § 2601 et seq.) and Us implementing regulation,
Regulation X (24 C.F.R.Part 3500), as they might be amended from time to time, or any additional or successor legislation or
regulation that govems the same subject matter. As used in this Security Instrument, ‘““RESPA” refers to all requirements atid
restriclions that are imposed in regard to a ‘‘federally related mortgage lean’? even if the Loan does not qualify as a ‘federally
related mortgage loan’’ under RESPA, .

@ ‘Successor fix Interest of Borrower?” means any party that has taken title to the Property, whether or not that party has
assumed Borrower's obligations under the Note and/or this Security Instrument,

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications of the
Note; and (ii) the performance of Borrower's covenants and agreements under this Security Instrument and the Note. For this
purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power of sale, the following described properry
located in the County of PLACER, California:

See Attached Legal
CALIFORMIA - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Fort 3005 1404
C3005-01/11/2001 sg Page 2 of 11 initials:#_J A

 
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‘

which currently has the address of 4250 West Lake Boulevard, Homewood, CA 96141 (“Property Address’):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements, appurtenances, and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security Instrument.
All of the foregoing is referred to in this Security Instrument as the ‘*Property.”” .

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and hag the right to grant and
convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants and will
defend generally the title to the Property agains? all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay when
due the principal ef, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due under the
Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
Instrument shal] be made in U.S. currency. However, if any check or other instrument received by Lender as payment under the
Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or ail subsequent payments due under
the Note and this Security Instrament be made in one or more of the following forms, as selected by Lender: (2) cash: (b) money
order; (c) certified check, bank check, treasurer’s check or cashier's check, provided any such check is drawn upon an institution
whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other location as
may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment or partial
payment if the payment or partial payments are insufficient to bring the Loan current, Lender may accept any payment or partial
payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied funds.
Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If Borrower does not do so within
a reasonable period of time, Lender shall either apply such funds or return them to Borrower. [f not applied earlier, such funds will
be applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim which
Borrower might have now or in the future against Lender shall relieve Borrower from making payments due under the Note and this
Security Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted and
applied by Lender shall be applied in the following order of priority: (a) interest due under the Note: (5) principal due under the
Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order in which it became
due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this Security Instrument,
and then to reduce the principal balance of the Note. .

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to pay
any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than one Periodic Payment
is outstanding, Lender may apply any payment received from Borrower to the Ttepayment of the Periedic Payments if, and to the
extemt that, each payment can be paid in full. To the extent that any excess exists after the payment is applied to the fill payment
of one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be applied
first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note, until
the Note is paid in full, a sum (the ‘“‘Funds’’} to provide for payment of amounts due for: (a) taxes and assessments and other items
which can attain priority over this Security Instrument as a lien or encumbrance on dhe Property; (b) leasehold payments or ground
renis on the Property, if any; (c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage
Insurance premiums, if any, or any sums payable by Borrower to Lender in tien of the payment of Morigage Insurance premiums in
accordance with the provisions of Section 10. These items are called ‘Escrow Items.”’ At origination or at any time during the
term of the Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees and assessments shall be an Escrow [term. Borrower shall prompily furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to

CALIFORNIA - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3! MP1
CIOS - O1/1T/2007 Page 3 of 17 Initials: ra

 
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pay the Funds for any or all Escrow items. Lender may waive Borrower’s obligation to pay 10 Lender Funds for any or all Escrow
Ttems at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when and
whete payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender may require. Bortower’s
obligation to make such payments and to provide receipts shall for all purposes be deemed a covenant and agreement contained in
this Security Instrument, as the phrase “‘covenant and agreement’ is used ia Section 9. If Borrower is obligated to pay Escrow
items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Hem, Lender may exercise its rights
under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow hems at any time by a notice given in accordance with Section 15 and, upon
such revocation, Borrower shall pay to Lender ali Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Punds at the
time specified under RESPA and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall estimate
the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow Items or otherwise
in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall nat charge Borrower for
holding aud applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays
Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Uniess an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earings
on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA,.

if there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
funds in accordance with RESPA, If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in accordance
with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of ail sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.

4, Charges; Liens. Borrower shall pay ali taxes, assessments, charges, fines, and impositions attributable to the Property
which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if'any, and Community
Association Dues, Fees, and Assessments, if any, To the extent that these items are Escrow Items, Borrower shall pay them im the
manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (2) agrees in
writing to the payment of the obligation secured by the lien in a manver acceptable to Lender, but only so long as Borrower is
performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings are pending, bot only until such
proceedings are concluded; or (c) secvres from the helder of the lien an agreement satisfactory to Lender swbordinating the Hen to
this Security Instrument. If Lender determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is
given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4. ;

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used by
Lender in connection with this Loan.

3. Property insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property insured
against loss by fire, hazards included within the term ‘‘extended coverage,”’ and any other hazards including, but net limited to,
earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the amounts Gueluding
deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
disapprove Borrower’s choice, which right shail not be exercised unreasonably. Lender may require Borrower to pay, in
connection with this Loan, either: (a) a one-time charge for flood zone determization, certification and tracking services; or é) a
one-time charge for flood zone determination and certification services and subsequent charges each time remappings or similar
changes occur which reasonably might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

CALIFORNIA - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form "AE
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If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender’s
option and Borrower’s expense. Lender ig under no obligation to purchase any particular type or amount of coverage. Therefore,
such coverage shail cover Lender, but might or might not protect Borrower, Borrower's equity in the Property, or the contents of
the Property, egainst any risk, hazard or ability and might provide greater or lesser coverage than was previously in effect.
Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
secured by this Security Instrument. These amouats shall bear interest at the Note rate from the date of disbursement and shal! be
payable, with such interest, upon notice from Lender-to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s right to disapprove
such policies shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional toss payee and
Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to the amount of the
outstanding ioan balance. Lender shall have the right to hold the policies and renewal certificates. H' Lender requires, Borrower
Shall promptly give to Lender all receipts of paid premiums and renewal notices. Hf Borrower obtains any form of insurance
coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such policy shail inchide a standard
mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee and Borrower futher agrees to generally
assign rights to insurance proceeds to the holder of the Note up to the amount of the outstanding loan balance.

In the event of loss, Borrower shall give prompi notice to the insurance carrier and Lender. Lender may make proof of
loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds, whether
or not the underlying insurance was required by Lender, shalt be applied to restoration or repair of the Property, if the restoration
OF repair is economically feasible and Lender’s security is not lessened. During such repair and restoration period, Lender shall
have the right to hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has
been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly, Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress paymenis as the work is completed. Unless an
agreement is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds, Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower, If the restoration or repair is
not economically feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to the sums secured by
this Security Instrument, whether or not then due, with the excess, if any, paid te Borrower. Such insurance proceeds shall be
applied im the order provided for in Section 2.

if Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related matters.
If Borrower does not respond within 30 days to a notice fom Lender that the insurance carrier has offered to settle a claim, then
Lender may segotiate and settle the claim. The 30-day peried will begin when the notice is given, In either event, or if Lender
acquires the Property under Section 22 or otherwise, Borrower hereby assigns io Lender (a} Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
Borrower's rights (other than the right to any refund of uneamed premiums paid by Borrower) under all insurance policies covering
the Property, insofar as such rights are applicable to the coverage of the Property. Lender may use the insurance proceeds either to
repair or restore the Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal residence within 60 days
after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal residence for at
least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably
withheld, or unless extenuating circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage or
impair the Property, allow the Property to deteriorate ar commit waste on the Property. Whether or not Borrower is residing in the
Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing in value due to its
condition. Unless it is determined pursuant to Section § that repair or restoration is not economically feasible, Borrower shalt
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid
in connection with damage to, or the taking of, the Property, Borrower shail be responsible for repairing or restoring the Property
onty if Lender has released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. [If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Properzy. If it has reasonable cause, Lender
may inspect the interior of the improvements on the Property. Lender shalt give Borrower notice at the time of or prior to such an
interior inspection specifying such reasonable cause.

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8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or any
persons or enlities acting at the direction of Borrower or with Borrower’s knowledge or consent gave materially false, misleading,
or inaccurate information or statements fo Lender (or failed to provide Lender with material information) in connection with the
Loan. Material representations incinde, but are not limited to, representations concerning Borrower's occupancy of the Property as
Borrower’s principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If (a) Borrower fails to
perform the covenants and agreements contained in this Security Instrument, (b) there is a legal proceeding that might significantly
affect Lender’s interest in the Property and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probate,
for condemnation or forfeiture, for enforcement of a Hien which may attain priority over this Security Instrument or to enforce laws
or regulations}, or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate
to protect Lender’s interest in the Property and rights under this Security Instrument, including protecting and/or assessing the
value of the Property, and securing and/or repairing the Property. Lender’s actions can include, but are not limited to: (a) paying
any sums secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks,
replace or board up doors and windows, drain water from pipes, eliminate building or other code violations or dangerous
conditions, and have utilities turned on or off. Although Lender may take action under this Section 9, Lender does not have to do
so and is not under any duty or obligation to do so. Jt is agreed that Lender incurs no liability for not taking amy or all actions
authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shail be payable, with such
interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with ail the provisions of the lease. If Borrower
acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall pay
the premiums required to maintain the Morigage Insurance in effect. If, for any reason, the Mortgage Insurance coverage required
by Lender ceases to be available from the mortgage insurer that previously provided such insurance and Borrower was required to
make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost
to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected by Lender. if substantially
equivalent Mortgage Insurance coverage is not available, Borrower shall continue io pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in liet of Morigage Insurance. Such Joss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or
earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount
and for the period that Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and Lender
” pequires separately designated payments toward the premiums for Mortgage Insurance. 1 Lender required Mortgage Insurance as a
condition of making the Loan and Borrawer was required to make separately designated payments toward the premiums for
Mortgage Insurance, Borrewer shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a
non-refundable toss reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Nate.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
does not repay the Loan as agreed. Borrower is not a party fo the Mortgave Insurance.

Morigage insurers evaluate their total risk on all such insurance in force from time to time, and may eater into agreements
with other parties that share or modify their risk, or reduce losses. These agreements are on terms and conditions that are
satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These agreements may require the
morigage insurer to make payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or any
affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized as) a
portion of Borrower’s payments for Mortgage Insurance, in exchange for sharing er modifying the mortgage insurer’s risk, or
reducing losses. If such agreement provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of
the premiums paid to the insurer, the arrangement is often termed ‘captive reinsurance.”* Further:

{a} Any such agreements will not affect the amounts that Borrower has agreed to pay fer Mortgage Insurance, er
any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage Insurance, and
they will not entitle Borrower to any refund.

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(b) Any such agreements will not affect the rights Borrower has ~ if any - with respect to the Mortgage Insurance
under the Homeowners Protection Act of 1998 or any other law, These rights may include the right to receive certain
disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such
cancellation or termination.

li. Assignment of Miscellaneous Proceeds; Forfeiture, Ali Miscellaneous Proceeds are hereby assigned to and shall be
paid to Lender. a

Hf the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if the
resioraliog or repair is economically feasible and Lender’s securtiy is not lessened. During such repair and restoration period,
Lender shall have the yight to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken prompuy. Lender
may pay for the repairs and restoration in a single disbursement or in a series of progress payments as the work is completed,
Unless an agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
shali not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender’s security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by
this Security Instrument, whether or not then due, with the exeess, if any, paid to Borrower. Such Miscellancous Proceeds shall be
applied in the order provided for in Section 2,

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneows Proceeds shall be applied ta
the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value js equal to or greater than the amount of the sums secured by this
Security Insirument immediately before the partial taking, destruction, or logs in value, unless Borrower and Lender otherwise
agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the partial taking, destraction, or
logs in value divided by (b) the fair market value of the Property immediately before the partial taking, destniction, or loss in value.
Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market vahue of the Property
immediately before the partial taking, destraction, or loss in value is less than the amount of the sams seeured immediately before
ihe partial taking, destruction, or loss in vate, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument whether or not the sums are then due.

if the Property is abandoned by Borrower, or if, after notice by Lender toe Borrower that the Opposing Party (as defined in
the next sentence) offers ta make an award to settle a claim for damages, Borrower fails to respond to Lender within 36 days after
the date ihe notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of
the Property or to the sums secured by this Security Instrument, whether or not then due. “Opposing Party’? means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender’s judgment,
could result in forfeiture of the Property or other material impairment of Lender’s interest in the Property or rights under this
Security Instrument. Borrower can cure such 2 default and, if acceleration has occurred, reinstate as provided in Section 19, by
causing the action or proceeding to be dismissed with a ruling that, in Lender’s judgment, precludes forfeiture of the Property or
’ other material impairment of Lender’s interest in the Property or rights under this Security Instrament, The proceeds of any award
or claim for damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned and shall be
paid to Lender.

AH Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
provided for in Section 2.

12, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modification
of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor in Interest of
Borrower shall not operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall not be
required to commence proceedings against any Successor in Interest of Borrower or to refuse to extend time for payment or
otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
without limitation, Lender’s acceptance af payments from third persons, entities or Successors in Imerest of Borrower or in
amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.

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13. Joint and Several Liability; Co-signers; Suecessors and Assigns Bound. Borrower covenants aud agrees that
Borrower's obligations and lability shall be joint and several. However, any Borrower who co-signs this Security Instrument but
does nat execute the Note (a ‘‘co-signer’’)}: (a) is co-signing this Security Instrument only to mortgage, grant and convey the
co-signer’s interest in the Property under the terms of this Security Instrument; (b} is not personally obligated to pay the sums
secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Berrower’s obligations under
this Securivy Instrument in writing, and is approved by Lender, shall obtain all of Borrower’s rights and benefits under this Security
Instrument. Borrower shall not be released from Borrower's obligations and lability under this Security Instrument unless Lender
agrees to such release in writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20} and benefit the successors and assigns of Lender.

id, Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default, for
the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, but not limited to,
attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not
charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted go that the interest or
other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) amy such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b} azry sums already collected
irom Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing
the principal owed under the Note or by making a direct payment to Borrower. Ifa refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the
Note). Borrower's acceptance of any such refund made by direct payment to Borrower will constiiute a waiver of any right of
action Borrower might have arising out of such overcharge.

15, Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
Any notice to Borrower in connection with this Security Instrument shall be deemed to have been piven to Borrower when mailed
by first class mail or when actually delivered io Borrower's notice address if sent by other means. Notice to any one Borrower
shall corstitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice address shall be the
Property Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of address, then
Borrower shall only report a change of address through that specified procedure. There may be only one designated notice address
under this Security Instrument at any one time, Any notice to Lender shall be given by delivering it or by mailing it by first class
mail to Lender’s address stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given io Lender until actually received by Lender, If
any. notice required by this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal law
and the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security Instrument are
subject to any requirements and limitations of Applicable Law. Applicable Law might explicifly or implicitly allow the parties to
agree by contract or it might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In the
event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not
affect other provisions of this Security Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrament: (a) words of the masculine gender shal] mean and include corresponding neuter words
or words of the feminine gender; (>) words in the singular shall mean and include the plural and vice versa; and (c) the word
“‘may”’ gives sole discretion without any obligation to take any action. .

17. Borrewer’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

i8. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, ‘‘Interest in the
Property’’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests transferred
in a bond for deed, conteact for deed, installment sales contract or escrow agreement, the inlent of which is the transfer of title by
Borrower at a future date to a purchaser.

 

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if all or any part of the Property or any Interest in the Property is soid or transferred (or if Borrower is not @ natural
person and a beneficial interest im Borrower is sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrument. However, this option shal] not be exercised by Lender
if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shail provide a period of not
less than 30 days from the date the notice is given in accordance with Section {5 within which Borrower must pay all sums secured
by this Security Instrement. If Borrower fails ia pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower.

19. Borrower's Right te Reinstate After Acceleration. {f Borrower meets certain conditions, Borrower shall have the
tight to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before sale of
the Property pursuant to any power of sale contained in this Security Instrument; (b} such other period as Applicable Law might
specify for the termination of Borrower’s right to reinstate; or {c) entry of a judgment enforcing this Security Instrument. _ Those
conditions are that Borrower: (a} pays Lender all sums which then would be due under this Security Instrument and the Note as if
no acceleration had occurred; (b) cures any default of any other covenants or agreements: (c) pays all expenses incurred in
enforcing this Security Instrument, including, but not Umited to, reasonable atlomeys’ fees, property inspection and valuation fees,
and other fees incurred for the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument: and
(d} takes such action as Lender may reasonably require to assure ihat Lender’s interest in the Property and rights under this
Security Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged,
Lender may require that Borrower pay such reinstatement sums and expenses in One or more of the following forms, as selected by
Lender; (a) cash: (h} money order: (c} certified check, bank check, treasurer's check or cashier’s check, provided any such check is
drawn upon an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds
Transfer, Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shail remain fully effective as
if'no acceleration had occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note Gogether
with this Security instrurmnenv) can be sold one or more times without prior notice to Borrower. A sale might result in a change in
the entity (known as the ‘‘Loan Servicer’’} that collects Periodic Payments due under the Note and this Security Instrument and
performs other mortgage loan servicing obligations under the Note, this Security Instrument, and Applicable Law, There also might
be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower
will be given written notice of the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of transfer of servicing. If the
Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan
servicing obligations to Borrower will remain with the Loan Servicer or be transferred to 4 successor Loan Servicer and are not
assumed by the Note purchaser untess otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, Jain, or be joined to any judicial action (as either an individual litigant or
the member of a class) that arises from the other party’s actions pursuant to this Security Instrument or that alleges that the other
party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such Borrower or Lender has
notified the other party (with such notice given in compliance with the requirements of Section 15) of such alleged breach and
alforded the other party hereto a reasonable period after the giving of such notice to take corrective action. If Applicable Law
provides a time period which must elapse before certain action can be taken, that time period will be deemed to be reasonuble for
purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the
notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take
corrective action provisions of this Section 20.

21. Hazardous Substances, As used in this Section 21: {a) ‘‘Hazardous Substances’’ are those substances defined aS
toxic or hazardous substances, pollutants, or wasies by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum pradvets, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
formaldehyde,. and radioactive materials; (b) ‘‘Environmental Law’? means federal laws and laws of the jurisdiction where the
Property is located that relate to health, safety of environmental protection; (c} ‘Gnvironmental Cleanup” includes any response
action, remedial action, or removal action, as defined in Environmental Law: and id} an ‘Environmental Condition’ means a
condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

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Borrower shall not cause or permit the presence, use, disposal, storage, or releass of any Hazardous Substances, or
threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do, anylhing
affecting the Property (a) that is in violation of any Environmental Law, {b) which creates an Environmental Condition, or (c)
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects the value of the
Property. The preceding two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and 10 migintenance of the Property
(including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, rlaim, demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental Law of
which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS, Borrower and Lender further covenant and agree as follows: .

22. Acceleration; Lender shall give notice to Borrower prior to acceleration following Borrower's breach of any
covenant or agreement in this Security Instrument (but not prior te acceleration under Section 18 unless Applicable Law
provides otherwise}. The notice shall specify: (a) the default; (b) the action required to cure the default: (ch a date, not fess
than 30 days from the date the notice is given to Borrower, by which the default must be cured; and (d} that failure to cure
the defanit on or befare the date specified in the notice may result in acceleration of the sums secured by this Seeurity
Instrument and sale of the Property. The notice shall farther inform Borrower of the right to reinstate after acceleration and
the right to bring a court action to assert the non-existence of a default or any other defense of Borrower to acceleration and
sale. If the defauli is not cured on or before the date specified in the notice, Lender at its option may require Immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke the power of sale
and any other remedies permitted by Applicable Law. Lender shall be entitled te collect all expenses incurred in pursuing
the remedies previded in this Section 22, including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written notice of the
occurrence of an event of default and of Lender selection to cause the Property to be sold. Trustee shall cause this notice to
be recorded in each county in which any part of the Property is located. Lender or Trustee shall mail copies of the notice as
prescribed by Applicable Law to Borrower and to the other persons prescribed by Applicable Law. Tyustee shall give public
notice of sale to the persons and in the manner prescribed by Applicable Law. After {he time required by Applicable Law,
Yrastee, without demand on Borrower, shail sell the Property at public auction to the highest bidder at the time and place
and under the terms designated in fhe notice of sale in one or more parcels and in any order Trustee determines. Trustee
may postpone sale of all or any parcel of the Property by public anneuncemeat at the time and place of any previousty
scheduled sale. Lender or its designee may purchase the Property at any sale.

‘Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant er warranty,
expressed or implied. The recitals in the Trustee’s deed shall be prima facie evidence of the truth of the statements made
therein. Trustee shall apply the proceeds of the sale in the following order: (2) to all expenses of the sale, including, but not
limited to, reasonable Trustee’s and attorneys’ fees; (b) to all sums secured by this Security Instrumtent: and (c} any excess to
the person or persons lepally entitled to it.

23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request Trustee to
reconyey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this Security Instrament-
to Trustee. Trustee shall teconvey the Property without warranty to the person or persons legally entitled to it. Lender may charge
such person or persons a reasonable fee for yeconveying the Property, but only if the fee is paid to a third party (such as the
Trustee} for services rendered and the charging of the fee is permitted under Applicable Law. if the fee charged does not exceed the
fee set by Applicable Law, the fee is conclusively presumed to be reasonable. L

24, Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any Trustee appointed
hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the Recorder of the county in
which the Property is located. The instrument shall contain the name of the original Lender, Trustee and Borrower, the book and
page where this Security Instrument is recorded and the name and address of the successor trustee. Without conveyance of the
Property, the successor trustee shall succeed to all the title, powers and duties conferred upon the Trustee herein and by Applicable
Law. This procedure for substitution of trustee shall govern to the exclusion of all other provisions for substitution.

25. Statement of Obligation Fee, Lender may collect a fee not to exceed the maximum amount permitted by Applicable
Law for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.

CALIFORNIA ~ Singla Farnily - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT . Form 3065 1/04
Cg00s - 01/91/2007 Page 10 of 11

 
Case 15-05015-gwz Docii1_ Entered 11/03/16 22:59:22 Page 155 of 167

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument and
in any Rider executed by Borrower and recorded with it.

Witnesses: ain a
Ran. VM LA (Seal)

Nathan L. (fa -Borrower

 

{certify tnder eral ef VERNMENT copy 27361.7

4 perjury th t the pe
ams of Note ns a gary seal rap
Bate Corstnsen: Bank 5 as follows:

M08 isipirag bh Sat
County of Commigere "an | ‘. mast Nissho 8
State of Commissies 1D.

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[Space Belew This Line For Acknowledgment}

CERTIFICATE OF ACKNOWLEDGMENT

STATE OF Ni doida— }
hind hye }8S
COUNTY OF )

Delobor f, Anne before me Leu fe high foe famed

On . , ,
personally appeared i Nathan A Te fil , personally known to me

{or proved to me on the basis of satisfactory Paence) to be the person(s} whose name(s} is/are subscribed to the within instrument
and acknowledged to me that he/she/they executed the same in his/her/iheir authorized capacity(ies), and that by his/her/their
signature(s) on the insirument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrament.

 

 

 

 

 

 

 

‘Witness my hand and official seal.
y LOUISE ANN HOVER BARNES
) Notary Public - Stata of Movaea
Aras Recon Wepre eangp
f G« Erptss Apia, ate
Signature (Seal)
CALIFORMA ~ Single Farnily - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3005 ‘HOt
C3005 - 01/11/2001 Page 11 of 11 Initials: W ’

 

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Loan No. REDACTED

BIXED/ADJUSTABLE RATE RIDER

{One-Year Treasury Index - Rate Caps}

THIS FIXED/ADJUSTABLE RATE RIDER is made this Ninth day of Octeber, 2002, and
is incorporated into and shall be deemed to amend and supplement the Mortgage, or Security Deed (the **Security
Instrement’’) of the same date given by the undersigned (‘Borrower’’) to secure Borrower’s Fixed/Adjustable
Rate Note (the “‘Note’’) to Citibank, F.S.B. (‘Lender’) of the same date and covering the Property deseribed in
the Security Instrament and located at:

4250 West Lake Boulevard, Homewood, CA 96141
{Property Address}

THE NOTE PROVIDES FOR A CHANGE IN BORROWER'S FIXED INTEREST RATE TO AN
ADJUSTABLE INTEREST RATE. THE NOTE LIMITS THE AMOUNT BORROWER'S
ADJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE TIME AND THE MAXIMUM
RATE BORROWER IVHIST PAY.

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. ADIUSTABLE RATE AND MONTHLY PAYMENT CHANGES

The Note provides for an initial fixed interest rate of $.375%, The Note provides for changes in the initial
fixed rate to an adjustable interest rate, as follows:

4. ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A} Change Dates

The initial fixed interest rate 1 will pay will change to an adjustable interest rate on the first day of
November, 2007, and the adjustable interest rate I wili pay may change on that day every 12th month thereafter,
The date on which my initial fixed interest rate changes to an adjustable interest rate, and each date on which my
adjustable interest rate could change, is called a ‘‘Change Date.”’

(B) The Index

Begitining with the first Change Date, my adjustable interest rate will be based on an Index. The
“Index” is the weekly average yield on United States Treasury securities adjusted to a constant maturity of one
year, as made available by the Federal Reserve Board. The most recent Index figure available as of the date 45
days before each Change Date is called the ‘Current index.’? . °

If the Index is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice.

(C} Catculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding
‘Two & 875/1000 percentage points (2.875%) to the Current Index. The Note Holder will then round the result
of this addition to the nearest one-eighth of one percentage point (0.125%). Subject to the limits stated in Section
4(D) below, this rounded amount will be my new interest rate until the next Change Date.

The Noie Holder will then determine the arnount of the monthly payment that would be sufficient to
repay the unpaid Principal that I am expected to owe at the Change Date in full on the Maturity Date at my new
interest rate in substantially equal payments. The result of this calculation will be the new amount of my monthly
payment,

MULTISTATE FIXED/ADJUSTABLE RATE RIDER— ONE-YEAR TREASURY INDEX--Single Family-Fannie Mae Unitorm Instrument

C3482 - 01/15/2001 Page 10f3 Ferm 31 }
initials:

 

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D) Limits on Interest Rate Changes

The interest rate ] am required to pay at the first Change Date will not be greater than 7.375% or less
than 3.375%. Thereafter, my adjustable interest rate will never be increased or decreased on any single Change
Date by more than two percentage points frora the rate of interest J have been paying for the preceding 12 months.
My interest rate will never be greater than 10.375%.

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. I will pay the amount of my new
monthly payment beginning on the first monthly payment date after the Change Date until the amount of my
monthly payment changes again,

(F) Natice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my initial fixed interest rate to an
adjustable interest rate and of any changes in my adjustable interest rate before the effective date of any change.
The notice will include the amount of my monthly payment, any information required by law to be given to me
and also the title and telephone aumber of a person who will answer any question ] may have regarding the notice,

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

1. Until Borrower's initiel fixed interest rate changes to an adjustable interest rate under the terms stated
in Section A ahove, Uniform Covenant 18 of the Security Instrument shail he in effect as follows:

Transfer of ihe Property or a Beneficial Interest in Borrewer. As used in this Section 18; ‘Interest in
the Property’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a hond for deed, contract for deed, installment sales contract or escrow agreement, the
intent of which js the transfer of title by Borrower at a fulure date to a purchaser.

if all or any part of the Property or any Interest in the Property is sold or transferred (or if. Borrower is:

not a natural person and a beneficial imerest in Borrower is sold or transferred) without Lender's prior writen
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument, However,
this option shall stot be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shail

provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within:

which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior
to the expiration of this period, Lender may invoke any remedies peronitted by this Security Instrument without
further notice or demand on Borrower.

2. When Borrower’s initial fixed interest rate changes to an adjustable interest rate under the terms stated
in Section A above, Uniform Covenant 18 of the Security Instrament described in Sectlon BI above shall then
cease to be in effect, and the provisions of Uniform Covenant 18 of the Security Instrument shall be amended to
read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “‘Interest in
the Property’’ means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the
intent of which is the transfer of title by Borrower at a future date to a purchaser.

MULTISTATE FEXEEVADJUSTABLE RATE RIDER-- ONE-YEAR TREASURY INDEX-Single Famiy-Fannie Mae Uniform Instrument
C3182 - 01/75/2001 Page 2 of 3 Form iS
Initials:

 
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if all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised by Lender if such exercise ig prohibited by Applicable Law. Lender atso shall
not exercise this option if: (a) Borrower causes to be submitted to Lender information required by Lender to
evaluate the intended transferee as if a new loan were being made to the transferee; and (b) Lender reasonably
determines that Lender’s security will aot be impaired by the loan assumption and that dhe risk of a breach of any
covenant Or agreement in this Security Instrument is acceptable to Lender,

To the cxtent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender’s consent to the Ioan assumption. Lender also may require the transferee to sign an assumption agreement
that is acceptable to Lender and ihat obligates the transferee to keep all the promises and agreements made in the
Note and in this Security Instramemt. Borrower will continue to be obligated under the Note and this Security
Instrument unless Lender releases Borrower in writing.

Hf Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of
acceleration. The notice shali provide a period of not less than 30 days from the date the notice is given in
accardance with Section 15 within which Borrower must pay all sums secured by this Seeuriry Instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any remedies permitted
by this Security Instrument without further notice or demand on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained im this

Fixed/Adjustable Rate Rider.
Vialhan ay opal (Seal

Nathaa LoTopol ~Borrower

MULTISTATE FIXED/ADJUSTABLE RATE RIDER-- ONE-YEAR TREASURY INDEX-Single Family—Fannie Mae Uniform Instrument
C3182 - 04/18/2001 BG8273 Page 3 of 3 ‘ Form 3182 1/01
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EXHIBIT. "as.

The land referred to in this Report is situated in the State of California, County of
Placer, and is described as follows:

PARCEL ONE:

Beginning at the Southwest corner of the parcel described hereby, a point on the
Easterly line of the California State Highway, said paint being identical with the
Northwest corner of the property described in that certain Deed ta Rhoades, recorded
in Volume 882, at page 24 of the Official Records of Placer County, and from said
point, the stump of a fir tree marking the meander corner common to fractional
Section 36, Township 15 North, Range 16 East, MDB&M and fractional Section 1,
Township 14 North, Range 76 East, MDB&M, bears the following two consecutive
courses: (1) South 02°39'40” West 160.00 feet and (2) South 07°40°40" West
1628.64 feet; thence along the Easterly line of the California State Highway on the
following two consecutive courses: {1} North 02°39'40" for a distance of 98.99 feet
, and (2) along the arc of a curve to the right having a radius of 3460 feet, through
an angle of 02°54'53” for a distance of 176.01 feet { said arc being represented by
the chord of North 04°07’°06.5” East 176.00 feet}; thence South 75°07'35” East
338.00 feet; thence South 31°54'39" West 225.00 feet to a point on the North line
of the parcel described in the above mentioned Deed to Rhoades; thence North
89°09'10" West along said North line for a distance of 225.00 feet to the point of
beginning,

PARCEL TWO:

All that certain strip of land which fies between the East fine of the above described
parcel and the iow water of Lake Tahoe and is bounded by the Easterly extensions of
the Northerly and Southerly lines of said parcel,

APN: 085-250-008

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Case 15-05015-gwz Doci1i1_ Entered 11/03/16 22:59:22 Page 160 of 167

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PLACER

SIERRA VALLEY TITLE COMPANY CER, County Recorder
ANO WHEN RECORDED NAIL TO: Jif REALLEY
DOC 20G4—-99G2629
CITIBANK, FSB C/O CITIMORTGAGE, INC, Rect T7-SIERRA VALLEY TITLE
PO BOX 9206, M&S 81026 Henday, JAN 12, 2004 @8:a0-90
FARMINGTON HILLS, Mi 48333-9206 Ree $3.00 MIC $3.08 GUT $1.80
SBS $8.00

TEE Pe $7.08 Nbr 8001008257

 

THIS GPACE FOR RECORDER'S USE ONLY:

elk /SK/1-4

 

ESCROW NO. DG-54506527-NM TITLE ORDER NO. 506527
FULL RECONVEYANCE

 

 

SIERRA VALLEY TITLE COMPANY, a Corporation, Trustee under the Dead of Trust executed by
NATHAN L. TOPOL, A MARRIED MAN AS HIS SOLE AND SEPARATE PROPERTY

Trustor, and recorded DECEMBER 16, 2002 as Serial No. 2002-0125157 in Book n/a, Page nfe, of
Official Racords in the Office of the County Recorder of Placer County, California, having been
requested in writing by the holder of the obligation secured by said Deed of Trust, to reconvey the
estate granted to Trustee uncer said Deed of Trust, does hereby reconvey to the Person or persons
legally entitled thereto, without warranty, all the estate, ttle and interast acquired by Trustee under said
Deed of Trust in the lands therein described, situated in the County of Placer, State of California
reference being hereby specifically made to said Deed of Trust and the record thereof for a particular
description of said tands.

IN WITNESS WHEREOF, said SIERRA VALLEY TITLE COMPANY, Trustee, has caused its corporata
name and seal to be hereto affixed by its Assistant Secretary, thereunto duly authorized,

DATED January 2, 2004 SIERRA VALLEY TITLE COMPANY
STATE OF CALIFORNIA

COUNTY OF Fa Ces” ‘ ° nods
On t bp, Bland BY:
before me, C494 (AAS REGINA KAY KRAHN, ARSISTANT SECRETARY

a Notary Public in and for said State, personally BY:
appea

 

 

 

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Cullen. Kav tA pp 7

 

persenally known to me for proved to me on the
basis of satisfactory evidence) to be the person(s)
whose name(s) is/are subseribed to the within
instrument and acknowledged to me that
he/she/they executed the same in his/her/thelr he
authorized capacityliasL and that by his/her/their a
signature(s} on the ipStrum@At the person(s), or

+

CARILEMOS ?
COMM, #1266731 0
? Notary Public-Californie -<
PLACER GCOURTY :

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acted, ¢
WIHTNE

Signature (This area tor official notarial seal}

 

 

 
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Case 15-05015-gwz Docii1_ Entered 11/03/16 22:59:22 Page 162 of 167

   

From: Steve Harris

Sent: Friday, September 05, 2014 2:08 PM
To: ejimenez@piteduncan.com

Ce: wdgq@renotrustee.com

Subject: Nathan Topol/ CitiMortgage
Attachments: doc01781620140905130054. pdf

Hi Eddie —

Please see enclosed letter for your immediate review.

Thank you,
Steve

Stephen R. Harris, Esq.

Harris Law Practice LLC
6151 Lakeside Drive, Suite 9100
Reno, NV 89511

775-786-7600

steve@harrislawreno.com
Case 15-05015-gwz Doci1i1_ Entered 11/03/16 22:59:22 Page 163 of 167

 

HARRIS LAW PRACTICE, LLC
STEPHEN R. HARRIS ATTORNEYS AND COUNSELORS AT LAW
LICENSED IN NEVADA 6151 Lakeside Drive, Suite 2100
Reno, Nevada 89511
CHRIS D. NICHOLS (775) 786-7600
OF COUNSEL steve@harrislawreno.com

 

LICENSED IN NEVADA & UTAH
September 4, 2014

Via email elimenez@piteduncan.com
Eddie R. Jimenez, Esq.

Fite Duncan, LLP

4375 Jutland Drive, Suite 200

San Diego, CA 92117

Re: Nathan L, Topol ~ Chapter 7 case / CitiMortgage Claim Objection
Dear Eddie:

| am in receipt of the documents produced by CitiMorigage in response ico the Subpecsna
issued by the Trustee on February 25, 2014. In that regard, | note that it is clear that all of the
basic loan documents were not provided by CitiMortgage. We are aware that there were at least
two loan modifications after the initial loan was made, and yet the loan modification documents
were not provided other than one “Loan Modification Notice". None of the escrow instructions
are included either, nor are other basic documents that would normally be part of a joan file. |
trust that CitiMorigage will fully comply with the Subpoena by producing all of the loan
documents as requested.

| also note that we were provided with loan "system notes" from September 19, 2007
through the present, but all loan notes from the inception of the loan through September 2007
were not provided. Emails were provided from late 2011 through the present, but there was
absolutely no correspondence provided for any time periods prior to that time. A payment
register was provided commencing March 3, 2007, but this loan was incurred on October 16,
2002, Where are the payment records for October 2002 through March 20077

There is also some text that has been redacted in several places from the “system
notes” afier the current principal balance of $5,527,893.75 is stated. The text that was redacted
from those system notes in those instances are not part of any privileged communication with
an attomey, so why was the text redacted? Please provide us with unredacted documents that
include that text. [| have attached the documents with the questionable redaction for your
review,

it also appears that there was a junior HELOC also held by Citibank at the time the
original loan was made to Nathan Topol in October 2002, and the HELOC was subordinated to
CitiMorigage's new first priority deed of trust. The Trustee is going to issue another Subpoena
io request information on that loan, and may also request additional documents or information
from CitiMorigage. Will you agree to accept service on behalf of Citibank/ CitiMortgage in that
regard?

Lastly, CitiMorigage filed a notice several weeks ago that it intended to serve a
Subpoena on Sierra Valley Title Company. {ff that Subpoena was ever served, can you please
provide us with copies of all documents you received in response to that Subpoena.
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Eddie R. Jimenez, Esq.
September 4, 2014
Page 2

Thank you. We appreciate the documents that were provided by CitiMorigage thus far,
but they are woefully incomplete relative to the scope of the Subpoena and the loan that the
Subpoena addresses. | appreciate your cooperation in this matter. As you recall, the
evidentiary hearing on the Trustee’s objection to CitiMortgage’s claim is scheduled for January
19 and 16, 2015, so the Trustee requires timely compliance of any discovery requests. if we
have any discovery disputes that need to be addressed, please let me know and we can
arrange to bring the matter to Judge Beesiey orally as he requested that we do.

Very truly yours,
‘sf Stephen R. Harris

STEPHEN R. HARRIS, ESQ.

SRH/ng
cc: W. Donaid Gieseke, Trustee (via email)
Case 15-05015-gwz Docii1_ Entered 11/03/16 22:59:22 Page 165 of 167

 
 
   

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Steve Harris

From: Eddie R. Jimenez <ejimenez@piteduncan.com>
Sent: Wednesday, September 10, 2014 3:57 PM

To: Steve Harris

Cc: wag @renotrustee.com

Subject: RE: Nathan Topel/ CitiMortgage

Attachments: doc01781620140905130054.pdf

Steve,

As you know, Judge Beesley ordered Citi to respond to the subpoena with the information that it had readily avaitable.
Accordingly, Citi provided information that it had available from 2007 to present. Citi believes that it has complied with
the subpoena and with Judge’s order, however, Citi is still in the process of attempting to obtain records from twelve
years ago and will provide the responsive documents, if any, when available. | will follow up with my client regarding its
efforts to obtain information from 2002 and provide a further status after i hear back from my client.

In your letter, you state that you “are aware that there were at least two loan modifications after the initial loan was
made..”. Please advise the dates of the loan modifications so 1 can confirm with my client and request the information.

The redacted text is protected by the word product privilege and is my client's internal impressions regarding the value
of the property. Although privileged, | will inquire with my client if it is willing to waive the privilege and provide
unredacted copies of the documents.

Please advise the relevance the HELOC referenced in your letter has to the Trustee’s objection to claim? At this time, }
am not authorized to accept service on behalf of Citi, However, if the Trustee does issue a subpoena on Citi, please
provide me a courtesy copy. in the meantime, | will inquire Into whether | am authorized to accept service on Citi’s
behalf.

 

 

 

   

The subpoena was served on Sierra Valley Title Company and | was advised that all records have been purged.

 

As for the scheduling order, | will also discuss with my client. However, working backwards from the evidentiary hearing
date, we may not have enough time to conduct thorough discovery and also file dispositive motions prior to the
evidentiary hearing dates of January 15" and 16". | would like at least 60 to 90 days to complete discovery and then
possibly file a motion for summary judgment prior to the evidentiary hearing. With a mation for summary judgment
requiring thirty (30) days notice, | don’t believe we will have enough time with the current schedule. It may be necessary
to push the evidentiary hearing back to the end of February or March 2015. j will discuss with my client, but | wanted
you to know my thoughts on the current time frame we are working under,

| look forward to hearing back from you regarding the requested loan modification dates and the relevance of the
HELOC referenced in your letter to the Trustee’s objection to claim.

Eddie R. Jimenez

Partner

Pite Duncan, LLP

Main Office: (858) 750-7600

Direct Dial: (858) 750-7612

Direct Fax: (619} 590-1385 -
Case 15-05015-gwz Docii1_ Entered 11/03/16 22:59:22 Page 167 of 167

ejimenez@piteduncan.com

www, piteduncan.com
Arizona | California | Hawaii { idaho | Nevada j Oregon | Texas | Utah | Washington

From: Steve Harris [mailto:steve@harrislawreno.com]
Sent: Friday, September 05, 2014 2:08 PM
To: Eddie R. Jimenez

Ce: wdg@renotrustee,com

Subject: Nathan Topol/ CitiMortgage
Hi Eddie ~
Please see enclosed letter for your immediate review,

Thank you,
Steve

Stephen R. Harris, Esq.

Harris Law Practice LLC
615} Lakeside Drive, Suite 2100
Reno, NV 89511

475-786-7600

sleve@harrislawreno.com

Visit our website at www. piteduncan.com

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attorney/client information that is privileged, confidential and exempt from disclosure under applicable law. If
the reader of this message is not the intended recipient or the employee or agent responsible for delivering this
message to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this
communication is strictly prohibited. If you have received this communication in error, please notify us
immediately by repiy email or by telephone (call us collect at 858/750-7600) and immediately delete this
message and all its attachments. Thank you,

Federal law requires us to notify you that this communication is from a debt collector. Our office is attempting
to collect a debt and any information obtained will be used for that purpose. However, if you are in an active
bankruptcy case and/or received a bankruptcy discharge enjoining enforcement of your personal hability for this
debt, our firm is not attempting to collect a debt from you personally on our client’s behalf but may be entitled
to pursue enforcement of our client’s lien against their collateral to the extent permitted under applicable law.
All included information is proprietary and confidential and is for the use of the intended recipient only.
